           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 1 of 107



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KATHERINE WARDLOW, CHRIS STEVENS,
MEGAN MUSSER a/k/a MEGAN HOLLAND,
ADELE TURNAGE, BRITTANY KING,                           Civil Action No. ___________
YANNET LATHROP, SENIQUA JOHNSON,
SETH SHELLEY, TANUJA GOULET ARANY,
AMANDA LEONE, HEATHER PRUESS,
MEAGAN PRYOR, LAURA BRADY, JAMIE                        COMPLAINT — CLASS ACTION
COLEMAN a/k/a JAMIE MCFARLAND,
ADELA LEVIS, ANDREA DAVIS, KATIE                        JURY TRIAL DEMANDED
BONHAM, AMANDA MILLER, NATHAN
HARIG, NICHOLE WOLFF, and GARIMA
GUPTA, on behalf of themselves and all others
similarly situated,

                                     Plaintiffs,

                            vs.

PENNSYLVANIA HIGHER EDUCATION
ASSISTANCE AGENCY d/b/a FEDLOAN
SERVICING and d/b/a AMERICAN
EDUCATION SERVICES, UNITED STATES
DEPARTMENT OF EDUCATION, and
ELISABETH DEVOS, in her official capacity as
Secretary of Education,

                                     Defendants.


         Katherine Wardlow, Chris Stevens, Megan Musser a/k/a Megan Holland, Adele Turnage,

Brittany King, Yannet Lathrop, Seniqua Johnson, Seth Shelley, Tanuja Goulet Arany, Amanda

Leone, Heather Pruess, Meagan Pryor, Laura Brady, Jamie Coleman a/k/a Jamie McFarland,

Adela Levis, Andrea Davis, Katie Bonham, Amanda Miller, Nathan Harig, Nichole Wolff, and

Garima Gupta (“Plaintiffs”), individually and on behalf of those similarly situated, bring this

class action against Defendants Pennsylvania Higher Education Assistance Agency d/b/a

FedLoan Servicing and d/b/a American Education Services (“PHEAA”), the United States



{2825 / CMP / 00161562.DOCX v1}543166.3
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 2 of 107



Department of Education (“Department”), and Elisabeth DeVos in her official capacity as

Secretary of Education (“Secretary DeVos”) (collectively, “Defendants”) for its violations of law

from at least as early as January 1, 2009 through the present (“Class Period”), and upon

knowledge, the investigation of counsel, and information and belief, allege as follows:

                                          NATURE OF THE ACTION

         1.       Student loan debt is now the largest category of non-housing related consumer

debt in the United States, with more than $1.34 trillion outstanding at the end of June 2017. The

overwhelming majority of student loans in the United States are owned by the federal

government through the Department and its secretary, Elisabeth DeVos.

         2.       Since June 2009, PHEAA has served as one of four primary servicers of federal

student loan debt. PHEAA’s loan servicing business operates as FedLoan Servicing (“FedLoan”)

and manages a loan portfolio worth approximately $330 billion.

         3.       The Department pays PHEAA an average monthly fee of $2.09 for each of the

approximately 7.5 million unique borrowers PHEAA services. PHEAA also earns interest on

student loans in its portfolio, in addition to receiving subsidies and special allowance payments

from the Department of Education.

         4.       In exchange, PHEAA acts as a middleman between the Department and the

borrowers of federally-owned loans. PHEAA is responsible for not only collecting loan

payments, but also offering payment plans, providing advice, and administering federal programs

designed to help borrowers effectively manage the increasing cost of higher education. This

includes several Income Driven Repayment Plans (“IDR”), which provide qualifying borrowers

with relief from student loan debt by adjusting their payments to a reasonably affordable amount

based on their income, occupation, and family size. Borrowers enrolled in an IDR can also apply




{2825 / CMP / 00161562.DOCX v1}543166.3            2
            Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 3 of 107



to have their federal loans forgiven after a certain number of payments and/or meeting other

criteria.

         5.       In February 2012, the Department made PHEAA solely responsible for

administering the Public Service Loan Forgiveness (“PSLF”) program and the Teacher

Education Assistance for College and Higher Education (“TEACH”) Grant program.

         6.       Congress specifically designed the PSLF and TEACH programs to make higher

education more affordable for public servants and teachers by providing financial assistance to

reduce the burden of their student loans. This includes complete forgiveness of federal student

debt for borrowers who commit to ten years of qualifying public service employment and tuition

grants of up to $4,000 per year for borrowers who commit to four years of qualifying teaching.

         7.       The PSLF and TEACH programs benefit borrowers (and America) by attracting

candidates to pursue careers in public service, like teaching, encouraging students to enter

tremendously valuable professions by providing loan forgiveness to make the necessary

education significantly more affordable.

         8.       However, helping borrowers discharge their debt sooner directly conflicts with

PHEAA’s own financial interest in keeping loans active for as long as possible to continue

collecting monthly servicing fees.

         9.       In order to maximize fees, PHEAA implemented a scheme during the Class

Period to boost revenue by extending the duration of loans in its portfolio through at least three

unlawful means:

         10.      First, PHEAA delayed or failed to process original applications and annual

certification paperwork under the PSLF and TEACH programs. By delaying or failing to process

borrowers’ application and re-certification paperwork, PHEAA extended the duration of loans in




{2825 / CMP / 00161562.DOCX v1}543166.3           3
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 4 of 107



the PSLF and TEACH programs, allowing PHEAA to collect more in monthly servicing fees.

This misconduct directly injured borrowers who were required to make additional payments and

remain in qualifying employment for loans that otherwise would have been forgiven.

         11.      Second, PHEAA delayed or failed to process applications for federal Income

Driven Repayment (“IDR”) plans, including specifically the new Revised Pay As You Earn

(“REPAYE”) program created in 2015. These IDR plans allow borrowers to make lower

monthly payments based on their income and family size. They also provide for loan forgiveness

after at least twenty years of repayment. PHEAA’s processing delays prevented borrowers from

making qualifying payments toward this twenty-year repayment period, increasing the amount of

servicing fees it collects by extending the duration of loans in an IDR plan.

         12.      Third, PHEAA improperly placed borrowers making timely loan payments into

deferment or forbearance status—a designation typically reserved for situations where the

borrower seeks relief from its payment obligations due to financial hardship. Borrowers who are

in deferment or forbearance cannot make qualifying payments that count towards loan

forgiveness under the PLSF, TEACH or IDR programs, even though PHEAA continues to

collect fees for servicing their loans. Thus, PHEAA’s abuse of the deferment and forbearance

process artificially increased revenue and extended the duration of loans in the PSLF, TEACH,

and IDR programs.

         13.      Reports published by the Consumer Financial Protection Bureau (“CFPB”)

describe complaints from borrowers nationwide of identical, widespread misconduct by PHEAA

in its exploitation of the PSLF, TEACH, and IDR programs. These unlawful acts not only caused

borrowers to deal with inconvenience and headaches but also to suffer measurable financial harm

when: (a) the duration of their loans were extended; (b) interest accrued on the principal balance




{2825 / CMP / 00161562.DOCX v1}543166.3          4
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 5 of 107



of loans during unrequested periods of deferment or forbearance; (c) TEACH Grants were

improperly converted into loans, with interest; (d) monthly payments under IDR programs were

billed at inaccurate levels; and (e) they were charged additional fees due to delay in processing

their applications for the PSLF, TEACH, and IDR programs.

         14.      PHEAA’s comprehensive strategy to increase loan duration and generate greater

servicing fees during the Class Period was hugely successful. Financial statements show that

PHEAA’s revenue from servicing federally-owned student loans has increased each year, a

direct result of the unlawful acts alleged in this Complaint.

         15.      This increase in revenue comes at the expense of borrowers, like Plaintiffs and the

Class, who were subjected to one or more of PHEAA’s illegal tactics while their loans were

serviced by FedLoan. As a result, Plaintiffs and the Class have either: lost out on months or years

of qualifying loan payments that would have brought them closer to loan forgiveness under the

PSLF, TEACH, and IDR programs; incurred thousands of dollars in additional student debt

when their TEACH Grants were converted into loans; been overcharged; or otherwise

disadvantaged when they were unable to utilize federal programs designed to make their

education more affordable.

         16.      Based on the continuing complaints described by the CFPB and the pervasive

nature of Defendants’ misconduct, Plaintiffs believe that further evidentiary support for their

claims, as alleged herein, will be revealed after a reasonable opportunity for discovery.

                                          JURISDICTION AND VENUE

                  This court has original subject matter jurisdiction under 28 U.S.C. § 1331, 5

U.S.C. § 702, and 28 U.S.C.A. § 1361.

                  This Court also has subject matter jurisdiction pursuant to the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2), because the aggregate amount in controversy exceeds the


{2825 / CMP / 00161562.DOCX v1}543166.3             5
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 6 of 107



sum or value of $5,000,000, exclusive of interest and costs, and is between citizens of different

states. Supplemental jurisdiction exists over the state law claims pursuant to 28 U.S.C. § 1367.

                  This Court has personal jurisdiction over PHEAA because PHEAA conducts

business throughout the United States, including this District, has substantial contacts with this

District, and has engaged in the illegal scheme alleged in this Consolidated Amended Class

Action Complaint, that was directed at and had the intended effect of causing injury to persons

and entities residing in, located in, or doing business in this District.

                  The Department has waived sovereign immunity as to the relief requested in this

matter pursuant to 5 U.S.C. § 702.

                  Defendants’ actions give rise to an actual controversy for purposes of the

Declaratory Judgment Act and Article III of the U.S. Constitution. As described herein, Plaintiffs

have suffered an invasion of a legally protected interest which is concrete and particularized and

actual and imminent. There is a causal connection between Plaintiffs’ injuries and Defendants’

offensive conduct. And Plaintiffs’ injuries will be redressed by a favorable decision.

                       Jurisdiction and venue are further proper as this Court has already been

designated as the Court to handle like claims in the MDL Litigation, In Re FedLoan Student

Loan Servicing Litigation, MDL No. 2833, 18-md-2833 (E.D. Pa.).

                  Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants regularly

conduct business in this District and a substantial part of the events giving rise to the claims

occurred here.




{2825 / CMP / 00161562.DOCX v1}543166.3             6
            Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 7 of 107



                                               PARTIES

         A. Plaintiffs

         Katherine Wardlow

                  Plaintiff Katherine Wardlow (“Wardlow”) is a resident of Rochester, New York.

Wardlow received a $2,000 TEACH Grant in 2010 to help pay the costs of pursuing her degree

for English as a Second Language from Nazareth College and executed the required Agreement

to Serve.

                  Wardlow has taught full-time as a highly qualified teacher in a high-need field at

a school serving low-income students since 2013.

                  Wardlow submitted the initial 120-day certification upon completing her TEACH

eligible program of study in 2012 or 2013 to confirm that she was employed full-time in a

qualifying teaching position or intended to meet the terms and conditions of the Agreement to

Serve.

                  Wardlow thereafter submitted the annual certification in 2013, 2014, 2015, and

2016 to certify that she had taught for one complete academic year, or was currently teaching,

full-time in a qualifying teaching position.

                  Although Wardlow actively confirmed her intention to satisfy the service

obligation, Defendants converted her TEACH Grant to an interest bearing loan in 2016.

                  As a result, Wardlow began making $50 monthly payments towards her TEACH

Loan until February 4, 2019.

                  On February 4, 2019, Wardlow received notice that her TEACH Loan would be

reconverted back into a TEACH Grant and that Defendants would “make the appropriate

adjustments to [her] account to ensure that [Wardlow] receive credit for any payments made on

those loans.” Defendants, however, refunded Wardlow only $193.45.


{2825 / CMP / 00161562.DOCX v1}543166.3            7
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 8 of 107



                  Wardlow has suffered various injuries as a result of Defendants’ misconduct,

including, failing to (a) provide a credit or refund for the full amount of principal and interest

payments she made towards the TEACH Loan, (b) provide credit for the four years of qualified

teaching she has completed and certified, (c) discharge her obligations under her Agreement to

Serve; and (d) correct any credit reporting issues as a result of the grant-to-loan conversion.

         Chris Stevens

                  Plaintiff Chris Stevens (“Stevens”) is a resident of Redlands, California. Stevens

received four TEACH Grants totaling $7,515.60 for the years 2012-2015 to help pay the costs of

pursuing his degree from National University.

                  Stevens has taught full-time as a highly qualified teacher at a school serving low-

income students in a high-need field since 2015.

                  Stevens submitted the initial 120-day certification upon completing his TEACH

eligible program of study in 2015 to confirm that he was employed full-time in a qualifying

teaching position.

                  Stevens thereafter submitted the annual certification in April 2016 and April 2017

to certify that he had taught for one complete academic year, or was currently teaching, full-time

in a qualifying teaching position.

                  PHEAA denied his 2016 certification because “the teaching service end date your

certifying official provided is in the future.” In other words, Stevens certified his employment

through the end of the school year when he had not yet completed that school year. Stevens made

the required change to his dates of employment and resubmitted his certification.

                  In September 2016, Stevens received notice that one of his Grants had been

converted into an interest-bearing loan. When he contacted PHEAA, PHEAA advised that it had

not received his certification and refused to reinstate his TEACH Grant.


{2825 / CMP / 00161562.DOCX v1}543166.3            8
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 9 of 107



                  PHEAA also denied his 2017 certification.

                  Although Stevens actively confirmed his intention to satisfy the service obligation

for both years, Defendants converted his TEACH Grants to interest bearing loans based on a

hyper-technicality on the certification form.

                  Stevens could not afford to make payments towards his TEACH loans and they

entered into default status on or about August 14, 2018.

                  On February 4, 2019 Stevens requested reconsideration of his grant-to-loan

conversions. Defendants approved his request on April 24, 2019 but reinstated only one of his

four TEACH Grants. Defendants have not reinstated his other Grants.

                  On April 23, 2019, the Department issued a wage garnishment order to withhold

15% of Stevens’ disposable income to collect on the remaining three TEACH loans that

Defendants failed to reinstate. To date, the Department has garnished approximately $1,250.00

of Stevens’ income.

                  Stevens has suffered various injuries as a result of Defendants’ misconduct,

including, failing to (a) reinstate his TEACH Grants upon approval of his reconsideration

request, (b) provide a credit or refund for the full amount of principal and interest payments he

made towards the TEACH Loans, (c) provide a credit or refund for the amount of income

garnished from his wages; and (d) correct any credit reporting issues as a result of the grant-to-

loan conversions.

         Megan Musser a/k/a Megan Holland

                  Plaintiff Megan Musser a/k/a Megan Holland (“Musser”) is a resident of Tinley

Park, Illinois. Musser received three TEACH Grants totaling $12,000 from 2008 to 2011 to help

pay the costs of pursuing her bachelor’s degree in mathematics and psychology from North

Central College in Naperville, Illinois.


{2825 / CMP / 00161562.DOCX v1}543166.3            9
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 10 of 107



                  Musser has taught full-time as a highly qualified teacher at a school serving low-

income students in a high-need field since August 2011.

                  Musser submitted the initial 120-day certification upon completing her TEACH

eligible program of study in 2011 to confirm that she was employed full-time in a qualifying

teaching position.

                  Musser thereafter submitted the annual certification in 2012 and 2013 to certify

that she had taught for one complete academic year, or was currently teaching, full-time in a

qualifying teaching position.

                  In 2014, PHEAA posted notice of the annual certification obligation only to

Musser’s paperless inbox at www.myfedloan.com, which Musser was not aware and did not

receive. As a result, she missed her certification deadline.

                  On August 27, 2014, Musser logged into her online account at

www.myfedloan.com and saw that her TEACH Grants had been converted to interest-bearing

loans.

                  Musser made approximately $7,325.25 in payments toward her TEACH loans

from 2014 to 2019.

                  In February 2019, Musser requested reconsideration of her TEACH Grant

conversion. Defendants approved her request on July 12, 2019 and reinstated her TEACH Grants

on September 28, 2019.

                  On October 4, 2019, PHEAA notified Musser that her TEACH Grant obligation

was fulfilled.

                  Defendants, however, refunded Musser only $1,676.50 of the $7,325.25 in

payments she made towards her TEACH loans.




{2825 / CMP / 00161562.DOCX v1}543166.3           10
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 11 of 107



                  Musser has suffered various injuries as a result of Defendants’ misconduct,

including, failing to provide a credit or refund for the full amount of principal and interest

payments she made towards the TEACH Loans.

         Adele Turnage

                  Plaintiff Adele Turnage (“Turnage”) is a resident of Gainesville, Florida. From

2009 to 2012, Turnage received multiple FFEL loans to pay for her daughter’s college education.

Turnage consolidated these loans in 2013 into a Direct Consolidation Loan. Today, Turnage

owes approximately $125,000 on the student loans she took out on her daughter’s behalf.

                  PHEAA has been Turnage’s student loan servicer since 2013.

                  After Turnage’s loans entered repayment status in 2013, she paid $861.80 per

month under the Standard Repayment Plan from June 2013 through July 2014.

                  When the Standard Repayment Plan amount proved to be unaffordable, Turnage

contacted PHEAA for help in August 2014. Rather than advise Turnage about the availability of

IDR Plans and review her options, PHEAA steered Turnage into a forbearance from August

2014 through July 2015. Despite the fact she was excused from making any payments during this

time, Turnage paid $430.00 per month just to keep up with the interest that was accumulating.

Furthermore, when Turnage contacted PHEAA in August 2014 for help, PHEAA failed to

disclose that entering forbearance would cause accrued interest to capitalize at the end of the

forbearance period. To this end, $4,864.34 of accrued interest was capitalized on Turnage’s

account on August 5, 2015.

                  After her forbearance period ended, Turnage again contacted PHEAA in October

2015. At that time, PHEAA finally informed her of the availability of IDR Plans and she enrolled

in the IBR Plan. Her new IBR monthly payment was $342.00 – nearly $100 less than the $430




{2825 / CMP / 00161562.DOCX v1}543166.3           11
            Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 12 of 107



monthly payment she had made without obligation during the 12-month forbearance from

August 2014 through July 2015. When Turnage later asked PHEAA why it had not informed her

before about IDR Plan options when she first sought help in August 2014, PHEAA replied:

“PHEAA isn’t required to inform borrowers about these options if the client doesn’t ask.”

                  Turnage has suffered various injures as a result of Defendants’ misconduct,

including: (a) exhaustion of her eligibility for forbearance in the future, when she may actually

need it; (b) denial of the benefits of an IDR Plan; (c) denial of the opportunity to make qualifying

payments towards forgiveness under both the PSLF program and IDR plan; and (d) capitalization

of accrued interest, which adds to her principal and increases her monthly payment amount.

         Brittany King

                  Plaintiff Brittany King (“King”) is from Saint Clair, Missouri. In 2011, she

attended a one-year program at Sanford Brown College for medical billing and coding. Due to

accreditation changes in the field, the college lost its accreditation and closed. King has worked

for a qualifying public service organization for the purpose of PSLF since 2016.

                  King applied for and received multiple Direct Loans to help pay the costs of her

education. PHEAA services King’s federal student loans.

                  King has contacted PHEAA repeatedly since leaving school about the difficulties

she was having in making her monthly loan payments, which ultimately led to a delinquency on

her account. Rather than advise King about the availability of IDR Plans that may provide an

affordable monthly payment as low as $0 and assist her in selecting a plan that best fits her

needs, PHEAA steered King into periods of economic hardship forbearance and deferment.

PHEA further failed to adequately notify her that going into forbearance would capitalize

interest.




{2825 / CMP / 00161562.DOCX v1}543166.3           12
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 13 of 107



                  When King ultimately learned about her IDR Plan options, she submitted an

application for an IDR Plan in early 2019. On March 21, 2019, she was approved for the

REPAYE plan with a new monthly payment amount of $0. Had Defendants previously advised

her of her options, she would have applied for an IDR Plan much earlier and avoided periods of

economic forbearance and deferment and the resulting capitalization of interest.

                  King has suffered various injuries as a result of these servicing failures, including:

(a) exhaustion of her eligibility for forbearance in the future, when she may actually need it; (b)

denial of the benefits of an IDR Plan; (c) denial of the opportunity to make qualifying payments

towards forgiveness under both the PSLF program and IDR plan; and (d) capitalization of

accrued interest, which adds to her principal and increases her monthly payment amount.

         Yannet Lathrop

                  Plaintiff Yannet Lathrop (“Lathrop”) is a resident of Rockville, Maryland.

Lathrop earned an undergraduate degree from the University of Minnesota, a Master of

Philosophy and Political Science from the New School for Social Research, and a Master in

Information Science from the University of Toronto.

                  From 2003 to 2011, Lathrop received multiple Direct Loans to help pay the costs

of her education. In 2011, Lathrop consolidated her loans into Direct Consolidation Loans.

Today, Lathrop owes over $200,000 in student loans.

                  PHEAA has been Lathrop’s federal student loan servicer since 2015. Prior to

PHEAA, Lathrop’s loans were serviced by Mohela.

                  To help manage her repayment obligations, Lathrop enrolled in an IDR Plan in

2012 and is pursuing loan forgiveness under the PSLF program.

                  Lathrop has worked for a qualifying public service organization for the purpose of

PSLF since 2012. She currently works as a Research and Policy Analyst at the National


{2825 / CMP / 00161562.DOCX v1}543166.3            13
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 14 of 107



Employment Law Project (NELP) in Washington, DC. Previously, Lathrop served as a policy

analyst for the Michigan League for Public Policy and was a researcher for the Identity, Privacy

and Security Institute of the University of Toronto.

                  In January 2016, Lathrop timely submitted to PHEAA an IDR Plan Request form

for the annual recalculation of her monthly payment and requested that her repayment plan be

switched from her existing IBR Plan to the REPAYE Plan.

                  But PHEAA failed to timely process Lathrop’s request. To accommodate its

delay, rather than placing Lathrop’s loans into a B-9 Administrative Forbearance for up to 60

days, PHEAA improperly placed Lathrop’s loans into general forbearance from January 1, 2016

through April 30, 2016. As a result accrued interest was capitalized. Lathrop further could not

make any qualifying payments towards PSLF forgiveness, despite being ready, interested, and

able to do so.

                  PHEAA ultimately approved her request and calculated her new payment under

the REPAYE Plan on June 8, 2016 – nearly 5 months after her initial request. Despite PHEAA’s

approval, it placed her account into Administrative Forbearance from June 7, 2016 through June

30, 2016, further denying her the ability to make qualifying payments toward loan forgiveness.

                  Furthermore, at no time, did Defendants adequately advise her that switching

from an IDR Plan to another plan would cause any accrued interest to capitalize. When Lathrop

changed plans, an additional interest was capitalized.

                  Lathrop has suffered various injures as a result of these servicing failures,

including: (a) denial of the benefits of an IDR Plan; (b) denial of the opportunity to make

qualifying payments towards forgiveness under both the PSLF program and IDR plan; and (c)




{2825 / CMP / 00161562.DOCX v1}543166.3            14
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 15 of 107



capitalization of accrued interest, which adds to her principal and increases her monthly payment

amount.

         Seniqua Johnson

                  Plaintiff Seniqua Johnson (“Johnson”) is a resident of New Jersey. Johnson

attended Oglethorpe University in Atlanta, Georgia, where she earned a Bachelor’s degree in

psychology in 2009. Since 2012, Johnson has been a Supervisor for the New Jersey Courts.

                  Johnson applied for and received various federal student loans to help pay the costs

of her post-secondary education. Today, Johnson owes almost than $100,000 in student loans.

                   To help manage her repayment obligations, Johnson is pursuing loan forgiveness

under the PSLF program.

                  PHEAA services Johnson’s federal student loans.

                  After consolidating her loans in 2016, Plaintiff Johnson enrolled in the REPAYE

IDR Plan. To ensure she made her payments on time, and to take advantage of a 0.25% interest

rate reduction, Johnson enrolled in PHEAA’s “direct debit” program, whereby monthly payments

are automatically debited from a borrower’s bank account. However, at the time she enrolled in its

direct debit program, PHEAA placed her account into forbearance status. Johnson did not request

PHEAA to place her account into forbearance, nor did PHEAA inform Johnson that the interest

on her student loans would capitalize upon leaving the REPAYE plan.

                  PHEAA improperly steered Johnson into forbearance instead of more beneficial

repayment plan options. Johnson has suffered various injuries as a result of PHEAA’s

mismanagement, including the: (a) exhaustion of her eligibility for forbearance in the future,

when she may actually need it; (b) denial of the opportunity to take part in alternative repayment

plans; (c) denial of the opportunity to make Qualifying Payments, which delays loan forgiveness




{2825 / CMP / 00161562.DOCX v1}543166.3            15
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 16 of 107



under both the PSLF program and REPAYE plan; (d) denial of Federal Interest Subsidies that

the Department must contribute on her behalf during repayment; (e) denial of reduced interest

rates available for borrowers in repayment status; and (f) capitalization of accrued interest, which

adds to her principal and increases her monthly payment amount.

                  Plaintiff Seth Shelley (“Shelley”) is a resident of Richmond, Virginia. Shelley

earned a bachelor’s degree from Penn State University and a Juris Doctor from Pace School of

Law. Since graduating law school in 2007, Shelley has worked for qualifying employers under

the PSLF program. Today, Shelley is an attorney in the Office of the Capital Defender in

Richmond, Virginia.

                  From 2004 through 2007, Shelley applied for and received various federal student

loans to help pay the costs of attending law school. Today, Shelley owes approximately $30,000

in student loans. To help manage his repayment obligations, Shelley enrolled in IDR Plans and is

pursuing loan forgiveness under the PSLF program. PHEAA has serviced Shelley’s federal

student loans since mid-2012.

                  On several occasions since 2012, PHEAA improperly placed Plaintiff Shelley’s

loans into forbearance while it processed his annual IDR recertification paperwork. Shelley was

not able to make qualifying payments during these months of forbearance. In these instances,

Shelley either did not request the placement of his loans into forbearance or agreed to place his

loans into forbearance at PHEAA’s recommendation.

                  Plaintiff Shelley has made consistent, on-time, monthly payments while working

for a PSLF qualifying employer, as required by the PSLF Program since 2008. Shelley should

have been eligible to apply for PSLF loan forgiveness in 2018. However, Defendants miscounted

his qualifying payments.




{2825 / CMP / 00161562.DOCX v1}543166.3           16
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 17 of 107



                  Because of inconsistent information he has consistently received from PHEAA,

Shelley delayed applying for forgiveness under the PSLF program until paying his November

2019 bill. To this end, Shelley logged into his online PHEAA account on October 16, 2019 to

view his November 2019 bill and schedule payment of that bill for October 17, 2019. When he

logged into his account on October 16, 2019, his account displayed a projected forgiveness date

of November 7, 2019 for both of his loans, consistent with his mid-2018 review of his account

and close to the date provided in the letter he received from PHEAA on March 20, 2018. Shelley

logged back into his account on October 17, 2019. When he did so, his account displayed a

projected forgiveness date of May 7, 2019, which is close to the date provided in the other letter

described above, the one dated May17, 2018. Shelley contacted PHEAA who indicated that

Shelley made his 120th Qualifying Payment months ago.

                  On October 21, 2019, PHEAA sent Shelley a letter, dated October 19, 2019,

advising him to apply for loan forgiveness under PSLF, which he did, also on October 21, 2019.

                  In 2018, Plaintiff Harig submitted a PSLF Employment Certification. Despite

having made consistent, on-time, monthly payments while working for a PSLF qualifying

employer, as required by the PSLF program, since April 2011, Defendants have credited Harig

with only 70 payments as of October 3, 2018.

                  Defendants failed to properly count Shelley’s qualifying PSLF payments, which

has delayed her loan forgiveness under the PSLF program. Shelley has suffered various injuries

as a result of Defendants’ misconduct, including the: (a) the opportunity to make qualifying

payments towards the PSLF program and IDR Plan, which has delayed his progress towards loan

forgiveness; (b) denial of Federal Interest Subsidies that the Department must contribute during

repayment; (c) capitalization of accrued interest, which adds to his principal and increases




{2825 / CMP / 00161562.DOCX v1}543166.3          17
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 18 of 107



monthly payment amounts; and (d) requiring Shelley to make more than the required 120-

payments for loan forgiveness under PSLF.

         Tanuja Goulet Arany

                  Plaintiff Tanuja Goulet Arany (“Arany”) is a resident of Loma Linda, California.

Arany earned the degrees of Doctor of Acupuncture and Oriental Medicine from Oregon College

of Oriental Medicine after earning her Master degree from the same school. Until July 2019, Arany

owned and operated the Tanuja Goulet Acupuncture & Oriental Medicine clinic, a small business

in Bend, Oregon.

                  From 2010 to 2014, Arany received various Direct Loans to help pay the costs of

her post-secondary education. Today, Arany owes more than $250,000 in student loans, which

because of interest capitalization, is approximately $40,000 more than when she completed her

education just five years ago. PHEAA services Arany's federal student loans.

                  To help manage her repayment obligations, Arany consolidated her Direct Loans

into Direct Consolidation Loans in 2014. She has been enrolled in an IDR plan since consolidating

her loans.

                  In late 2015, Arany timely submitted to PHEAA an IDR Plan Request form for the

annual recalculation of her monthly payment.

                  PHEAA rejected Arany’s IDR Plan Request, citing Arany’s failure to provide

supporting documentation of her annual income.

                  In December 2015, Arany responded to PHEAA, explaining she could not provide

a paystub or similar document because, as a small business owner, such documentation did not

exist. Instead, Arany provided a summary of her small business’ gross earnings.




{2825 / CMP / 00161562.DOCX v1}543166.3          18
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 19 of 107



                  PHEAA did not timely process Arany’s 2015 IDR Plan Request and supporting

documentation. As a result, PHEAA instead placed Arany’s account into forbearance status,

causing $22,707.56 of accrued interest to capitalize on or about January 2, 2016.

                  Arany has suffered various injures as a result of these servicing failures, including:

(a) exhaustion of her eligibility for forbearance in the future, when she may actually need it; (b)

denial of the opportunity to make qualifying payments, which delays loan forgiveness under an

IDR plan; (c) denial of federal interest subsidies that the Department must contribute on her behalf

during repayment; and (d) capitalization of accrued interest, which adds to her principal and

increases her monthly payment amount.

         Amanda Leone

                  Plaintiff Amanda Leone (“Leone”) is a resident of New Jersey. Leone attended

Lafayette College in Easton, Pennsylvania, where she earned a bachelor’s degree in Political

Science and Government in 2010. She then enrolled at Seton Hall University School of Law,

where she earned her Juris Doctor in 2013. Upon graduation, Leone clerked for the Honorable

Thomas R. Vena, J.S.C. in the Superior Court of New Jersey. Today, she is an attorney in New

York City.

                  Leone received various Direct Loans to help pay the costs of her education.

Today, Leone is enrolled in the PAYE income-driven repayment plan. PHEAA services Leone’s

federal student loans.

                  PHEAA has improperly placed and/or kept Leone’s account in forbearance when

it required more time to process her annual IDR application. Leone submitted her IDR request

sometime before March 23, 2016, at which time PHEAA confirmed its receipt via email. On

April 12, 2016, PHEAA notified Leone that “[a]t this time, we are currently experiencing a high




{2825 / CMP / 00161562.DOCX v1}543166.3            19
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 20 of 107



volume of IDR requests.” PHEEA continued, thanking Leone “for [her] patience as [PHEAA]

work[s] through this unexpectedly high volume of requests.”

                  Furthermore, Defendants failed to notify Leone that switching IDR plans would

cause accrued interest to capitalize. Defendants’ omission was particularly damaging to Leone,

who regularly followed the IDR application’s recommendation that she choose “the income-

driven repayment plan with the lowest monthly payment.” However, because the payment

amounts of each plan may change from year-to-year, so too may the plan “with the lowest

monthly payment.” To this end, $2,270.35 of accrued interest capitalized on June 1, 2016 after

Leone submitted an IDR request on or about May 12, 2016.

                  Leone has suffered various injuries as a result of PHEAA’s mismanagement,

including the: (a) exhaustion of her eligibility for forbearance in the future, when she may

actually need it; (b) denial of the benefits of an IDR Plan; (c) denial of the opportunity to make

qualifying payments towards forgiveness under both the IDR plan; and (d) capitalization of

accrued interest, which adds to her principal and increases her monthly payment amount.




         Heather Pruess

                  Plaintiff Heather Pruess (“Pruess”) is a resident of Portland, Oregon. She earned a

Bachelor of Science in Sociology from Boise State University in 2000 and an MPA in Public

Administration/Nonprofit Management in 2007 from Portland State University. Since graduating

in 2007, Pruess has worked for a PSLF qualifying employer while making consistent on-time loan




{2825 / CMP / 00161562.DOCX v1}543166.3           20
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 21 of 107



payments for the full amount due. Today, Pruess is a Donor Relations Officer at a statewide

community foundation supporting diverse communities across Oregon through philanthropy.

                  From 1995 to 2000 and 2005 to 2007, Pruess applied for and received various

Direct Loans to help pay the costs of her education. Today, Pruess owes approximately $100,000

in student loans. To help manage her repayment obligations, Pruess is pursuing loan forgiveness

under the PSLF program. PHEAA services Pruess’ federal student loans.

                  On January 22, 2017, Pruess received a letter from PHEAA advising her that her

IDR recertification deadline was March 27, 2017. Pruess submitted her recertification paperwork

in early February 2017, well before this deadline. Still, PHEAA failed to process Pruess’

paperwork until May 2017.

                  Furthermore, at no time, did Defendants adequately advise Pruess that switching

from an IDR Plan to another plan would cause any accrued interest to capitalize.

                  As a result of the above delays in processing her paperwork and/or from

switching IDR plans, $4,667.25 of accrued interest capitalized on February 22, 2017 and another

$530.04 of interest capitalized on April 11, 2017.

                  Pruess suffered various injuries as a result of PHEAA’s mismanagement,

including the: (a) exhaustion of her eligibility for forbearance in the future, when she may

actually need it; (b) denial of the opportunity to make qualifying payments towards loan

forgiveness under the PSLF program and the IDR Plan; (c) denial of Federal Interest Subsidies

that the Department must contribute on her behalf during repayment; and (d) capitalization of

accrued interest, which adds to her principal and increases her monthly payment amount.




{2825 / CMP / 00161562.DOCX v1}543166.3          21
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 22 of 107



         Meagan Pryor

                  Plaintiff, Meagan Pryor (“Pryor”), is a resident of Pennsylvania. Pryor graduated

from Nova Southeastern University with a Psy. D. in Clinical Psychology. Upon completion of

her program, Pryor began practicing as a psychotherapist under the supervision of a licensed

psychologist. Pryor became licensed as a clinical psychologist in March of 2018, at which time

she started to practice independently.

                  Pryor received Direct Loans to pay for her education. Today, Pryor has

approximately $332,000 in student loans outstanding including principal and interest. PHEAA

has been Pryor’s loan servicer since May 2013.

                  On November 29, 2014, PHEAA notified Pryor that her annual IDR certification

was due within 10 days of January 25, 2015. On January 24, 2015, Pryor mailed her IBR

certification along with a letter dated that same date. The letter enclosed Pryor’s income tax

documents for verification purposes, and explained that because Pryor had not yet received her

2014 tax documents from her former employer, she included her final pay stub which reflected

her full year earnings. In response to her submission, Pryor received a letter from PHEEA dated

January 30, 2015 titled “the IBR application you requested.”

                  Thereafter, in March 2015, PHEEA recalculated Pryor’s loan repayment amounts

under the Standard Repayment Plan at a much higher monthly payment than under IBR,

notwithstanding that even if it were determined that the application was late, PHEAA had

Pryor’s income documentation and the ability to recalculate her new IBR monthly payments

under the Missed Deadline Exception, as regulations require.

                  On March 27, 2015, Pryor submitted an IBR application and additional materials

after it was determined that the documents sent on January 24, 2015 were not sufficient. Faced

with a much higher new payment amount, Pryor agreed under duress to be placed into general


{2825 / CMP / 00161562.DOCX v1}543166.3           22
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 23 of 107



forbearance for approximately two months starting in March 2015. As a result, PHEAA

capitalized over $34,000 in interest on her loans increasing her principal balance dramatically.

                  Pryor has suffered various injuries as a result of PHEAA’s failure to process her

IDR paperwork, including the: (a) exhaustion of her eligibility for forbearance in the future,

when she may actually need it; (b) denial of Federal Interest Subsidies that the Department must

contribute on her behalf during repayment; (c) denial of the opportunity to make qualifying

payments towards forgiveness under an IDR plan; and (d) capitalization of accrued interest,

which adds to her principal and increases her monthly payment amount.

         Laura Brady

                  Plaintiff Laura Brady (“Brady”) is a resident of Smithtown, New York. From

2010 to 2013, Brady received various Direct Loans to help pay the costs of her education. Today,

Brady owes approximately $125,000 in student loans.

                  Brady has worked for a qualifying public service organization for the purpose of

PSLF since 2013, including as a Child Life Specialist at Stony Brook Children’s Hospital in

Stony Brook, NY.

                  Brady enrolled in the IBR repayment plan and is pursuing loan forgiveness under

the PSLF program. PHEAA services Brady’s federal student loans.

                  In 2017, PHEAA posted notice of the annual IDR recertification deadline to

Brady’s paperless inbox at www.myfedloan.com, which Brady was not aware and did not

receive. As a result, Brady missed the recertification deadline, which caused $7,615.73 interest to

capitalize and her monthly payment to jump from $192 to almost $2,000.

                  Brady contacted PHEAA, who steered her into forbearance in October and

November 2017. Brady returned to her IBR plan in December 2017.




{2825 / CMP / 00161562.DOCX v1}543166.3           23
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 24 of 107



                  Brady has suffered various injuries as a result of Defendants’ misconduct,

including the: (a) exhaustion of her eligibility for forbearance in the future, when she may

actually need it; (b) denial of the benefits of an IDR Plan; (c) denial of the opportunity to make

qualifying payments towards forgiveness under both the PSLF program and IDR plan; and (d)

capitalization of accrued interest, which adds to her principal and increases her monthly payment

amount.

         Jamie Coleman

                   Plaintiff Jamie Coleman a/k/a Jamie McFarland (“Coleman”) is a resident of

Wharton, New Jersey. Coleman earned a bachelor’s degree in psychology and minor in Spanish

from the University of Delaware in 2008, and a master’s degree in social work from Rutgers

University in 2010. In 2010, Coleman took out Direct Loans to pay for her master’s degree.

                  Since graduating, Coleman has worked for a PSLF qualifying employer. Coleman

is currently employed as a legal advocate for victims of domestic violence. Coleman previously

worked with children who experienced trauma, as well as at a shelter for pregnant women.

                  To help manage her repayment obligations, Coleman enrolled in an IDR plan and

began pursuing forgiveness through the PSLF Program. She has made consistent, on-time,

monthly payments while working for a PSLF qualifying employer, as required by the PSLF

program, for at least the past 8 years.

                  In October 2017, Coleman submitted a PSLF Employment Certification to her

previous loan servicer, after which her loans were transferred to PHEAA as the exclusive PSLF

loan servicer. On December 5, 2017, PHEAA notified Coleman that it provided her credit for

only 32 of her 86 qualifying payments.

                  On November 8, 2017, Coleman submitted her annual IDR Plan Request form

and requested a change from the IBR Plan to REPAYE. Coleman contacted PHEAA and


{2825 / CMP / 00161562.DOCX v1}543166.3           24
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 25 of 107



specifically inquired if interest would capitalize upon switching plans. PHEAA confirmed

(incorrectly) that it would not.

                  Upon processing Coleman’s request to switch plans, $7,352.15 accrued interest

capitalized on December 14, 2017.

                  Coleman has suffered various injuries as a result of Defendants’ misconduct,

including the: (a) denial of credit for PSLF qualifying payments she is entitled to, which delays

forgiveness under the PSLF Program, and (b) capitalization of accrued interest, which increases

her principal loan balance monthly payment amount.

         Adela Levis

                  Plaintiff Adela Levis (“Levis”) is a resident of Arlington, Virginia. In 2005, Levis

earned a Bachelor of Arts in German Literature from Oakland University. She then studied at

American University, where she earned a Masters degree in International Politics. In addition to

her current studies, Levis is an Academic and NGO Liaison at the U.S. Department of State,

where she has served in various capacities since 2010. The U.S. Department of State is a

qualifying public service organization for the purpose of PSLF.

                  In 2006, Levis consolidated her undergraduate student loans into Direct

Consolidation Loans. From 2009 to 2012, Levis received various Direct Loans to help pay the

costs of her post-graduate education.

                  PHEAA has been Levis’ student loan servicer since May 2017. Prior to PHEAA,

Levis’ student loan servicer was Nelnet.

                  To help manage her repayment obligations, Levis enrolled in the REPAYE Plan

in or about May 2013. She is pursuing loan forgiveness under the PSLF program.




{2825 / CMP / 00161562.DOCX v1}543166.3            25
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 26 of 107



                  In April 2017, Levis submitted a PSLF Employment Certification Form to Nelnet,

her then student loan servicer. Her loans were then transferred to PHEAA (as the exclusive PSLF

loan servicer).

                  Since at least May 2013, Levis has made consistent on-time qualifying payments

for the full amount due while working for the U.S. Department of State – a PSLF qualifying

employer.

                  PHEAA incorrectly determined, however, that Levis made only 12 PSLF

qualifying payments as of January 2019.

                  Levis has suffered various injures as a result of these servicing failures, including:

(a) exhaustion of her eligibility for forbearance in the future, when she may actually need it; (b)

denial of the benefits of an IDR Plan; (c) denial of the opportunity to make qualifying payments

towards forgiveness under both the PSLF program and IDR plan; and (d) capitalization of

accrued interest, which adds to her principal and increases her monthly payment amount.

         Andrea Davis

                  Plaintiff Andrea Davis (“Davis”) is a resident of East Hartland, Connecticut.

Davis has worked for a qualifying public service organization for the purpose of PSLF since

2010, including as a Hearing Parole Officer for the State of Connecticut Board of Pardons and

Paroles. Previously, she worked at The Connection, Inc., a nonprofit, from 2006 to 2010.

                  Davis applied for and received federal student loans to help pay the costs of her

education. Today, Davis owes approximately $75,000 in student loans. To help manage her

repayment obligations, Davis consolidated her loans on or about September 27, 1999, is now

enrolled in the IBR Plan, and is pursuing loan forgiveness under the PSLF program. PHEAA is

Davis’ federal student loan servicer.




{2825 / CMP / 00161562.DOCX v1}543166.3             26
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 27 of 107



                  Davis has made consistent, on-time, monthly payments as required under the

PSLF program for more than ten years while working for a PSLF qualified employer. However,

PHEAA has credited her for only 59 payments as of June 2019.

                  Davis has suffered various injures as a result of these servicing failures, including:

(a) denial of the benefits of an IDR Plan; (b) denial of the opportunity to make qualifying

payments towards forgiveness under both the PSLF program and IDR plan; and (c) capitalization

of accrued interest, which adds to her principal and increases her monthly payment amount.

           Katie Bonham

                  Plaintiff Katie Bonham (“Bonham”) is a resident of Alabama. She graduated from

Faulkner University with degrees in criminology and psychology. Since January 2009, Bonham

has worked for a PSLF qualifying employer while making consistent on-time loan payments for

the full amount due. To this end, for the last ten years, Bonham has served as a law enforcement

officer.

                  Bonham received Direct Loans to help pay the costs of her education. Today,

Bonham still owes approximately $23,000 in federal student loans. To help manage her

repayment obligations, Bonham began pursuing loan forgiveness under the PSLF program.

                  Bonham has made consistent, on-time, monthly payments as required by the

PSLF program for more than ten years while working for a PSLF qualified employer. However,

PHEAA has credited her for less than 60 payments.

                  Wolff has suffered various injuries as a result of Defendants’ misconduct,

including: (a) denial of the benefits of IDR Plans, and (b) denial of the opportunity to make

qualifying payments, which delays loan forgiveness under the PSLF Program and her IDR plan.




{2825 / CMP / 00161562.DOCX v1}543166.3            27
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 28 of 107



         Amanda Miller

                  Plaintiff Amanda Miller is a resident of Richmond, Virginia. Miller attended

Thiel College in Greenville, Pennsylvania, where she earned a bachelor’s degree in Psychology

and Criminal Justice in 2014. She then enrolled at Marymount University, where she earned her

Master of Arts in Forensic and Legal Psychology in 2014. Since graduating in 2014, Miller has

worked for a PSLF qualifying employer while making consistent on-time loan payments for the

full amount due. Today, Miller is a Capital Mitigation Specialist with the Office of the Capital

Defender in Richmond, Virginia.

                  Miller received various Direct Loans to help pay the costs of her education.

Today, Miller owes almost $100,000 in student loans. To help manage her repayment

obligations, Miller enrolled in an IDR Plan and is pursuing loan forgiveness under the PSLF

program. PHEAA has serviced Miller’s federal student loans since January 2017. Prior to that,

Miller’s loans were serviced by Navient.

                  Miller has made consistent, on-time, monthly payments under an IDR Plan since

January 2017. As a result, she should have approximately 30 Qualifying Payments towards loan

forgiveness under the PSLF program. However, PHEAA has credited her for less than half that

amount.

                  Miller has suffered various injuries as a result of Defendants’ misconduct,

including: (a) denial of the benefits of IDR Plans, and (b) denial of the opportunity to make

qualifying payments, which delays loan forgiveness under the PSLF Program and her IDR plan.

         Nathan Harig

                  Plaintiff Nathan Harig (“Harig”) is a resident of Carlisle, Pennsylvania. Harig

earned a bachelor’s degree in political science from St. Vincent’s College in 2008 as well as a




{2825 / CMP / 00161562.DOCX v1}543166.3            28
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 29 of 107



master’s degree in transatlantic studies from Jagiellonian University in 2010. Harig received

Direct Loans to pay for his master’s degree.

                  Since graduating, Harig has worked for a PSLF qualifying employer. Harig is

currently employed as the Assistant Emergency Medical Service Chief in Pennsylvania at

Cumberland Goodwill Emergency Medical Services.

                  To help manage his repayment obligations, Harig consolidated his Direct Loans in

2011, enrolled in an IDR plan, and began pursuing forgiveness through the PSLF Program.

                  PHEAA has been Harig’s loan servicer since May 2014, although his loans

previously had been transferred among other loan servicers three times between 2011 and 2014.

                  In 2018, Harig submitted a PSLF Employment Certification. Despite having made

consistent, on-time, monthly payments while working for a PSLF qualifying employer, as

required by the PSLF program, since April 2011, Defendants have credited Harig with only 70

payments as of October 3, 2018.

                  Harig requested that PHEAA review his payment history to confirm the number

of qualifying payments made towards PSLF. However, PHEAA has not provided Harig with

credit for the “missing” qualifying payments he has made.

                  Harig has suffered various injuries as a result of Defendants’ misconduct,

including the denial of credit for PSLF qualifying payments he is entitled to, which delays

forgiveness under the PSLF Program.

         Nichole Wolff

                  Plaintiff Nichole Wolff (“Wolff”) is a resident of Depoe Bay, Oregon. She earned

a Bachelor of Science and Master’s from the University of Minnesota. Wolff received various

Direct Loans to help pay the costs of her education. On or about June 18, 2007, Wolff




{2825 / CMP / 00161562.DOCX v1}543166.3           29
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 30 of 107



consolidated her loans into Direct Consolidation Loans. Today, Wolff still owes approximately

$30,000 on her student loans.

                  PHEAA has been Wolff’s student loan servicer since December 2016. Prior to

PHEAA, Wolff’s loans had been serviced by other loan servicers.

                  Wollf has worked for a qualifying public service organization for the purpose of

PSLF since graduating in 2005 and has made consistent, on-time PSLF qualifying payments

during this time.

                  In August and September 2016, Wolff submitted PSLF Employment Certification

Forms, one for each of her two employers, to EdFinancial Services, LLC, her then student loan

servicer. Her loans were then transferred to PHEAA (as the exclusive PSLF loan servicer).

PHEAA notified Wolff in writing of the transfer and acknowledged her interest in PSLF.

PHEAA, however, did not advise Wolff that she was not on a PSLF-eligible repayment plan.

Wolff’s prior loan servicers also failed to advise her that she was not on a PSLF-eligible

repayment plan.

                  Having made 120-months of payments as of 2017, Wolff submitted a PSLF

application for loan forgiveness in the second half of that year.

                  After several months, during which she continued to make monthly payments,

Wolff contacted PHEAA to ask about the status of her PSLF application. Only then did

Defendants inform her that she was not on a PSLF-eligible repayment plan and had not made a

single qualifying payment. PHEAA reviewed with Wolff her repayment plan options, including

both PSLF-eligible and non-PSLF-eligible repayment plans.

                  However, because Wolff has been diagnosed with Stage 4 appendix cancer and

her health is uncertain, Wolff chose to enroll in the repayment plan with the lowest monthly




{2825 / CMP / 00161562.DOCX v1}543166.3           30
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 31 of 107



payment, which was a non-qualifying PSLF repayment plan. She continues to make her monthly

payments under this new payment schedule.

                  Had the Department and its loan servicers timely advised Wolff that she was not

on a PSLF-qualifying repayment plan, she would have already obtained PSLF loan forgiveness.

                  Wolff has suffered various injuries as a result of Defendants’ misconduct,

including: (a) denial of the benefits of IDR Plans; and (b) denial of the opportunity to make

qualifying payments, which delays loan forgiveness under the PSLF Program and her IDR plan.

         Garima Gupta

                  Plaintiff Garima Gupta (“Dr. Gupta”) is a resident of Kensington, California.

Gupta earned a Bachelor of Arts at the University of California – Berkeley and a Master of Arts

at the University of Southern California. She then attended medical school at Touro University

College of Osteopathic Medicine. Gupta received Direct Loans in at least 2002, 2003, and from

2010 to 2012 to pay for her education.

                  Dr. Gupta worked for a PSLF qualifying employer from 2013 to 2019. Dr. Gupta

currently practices critical care medicine and is affiliated with Alta Bates Summit Medical

Center and Eden Medical Center in and around Oakland, California.

                  To help manage her repayment obligations, Dr. Gupta consolidated her Direct

Loans in 2013, enrolled in an IDR plan, and began pursuing forgiveness through the PSLF

Program.

                  PHEAA has been Dr. Gupta’s loan servicer since April 2014.

                  Defendants have credited Dr. Gupta with fewer qualifying payments than she is

entitled as a result of having made consistent, on-time, monthly payments while working for a

PSLF qualifying employer from 2013 to 2019, as required by the PSLF program.




{2825 / CMP / 00161562.DOCX v1}543166.3           31
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 32 of 107



                  Dr. Gupta has suffered various injuries as a result of Defendants’ misconduct,

including the denial of credit for PSLF qualifying payments she is entitled to, which delays

forgiveness under the PSLF Program.

                  Plaintiffs Musser, Stevens, and Wardlow are collectively referred to as the

“TEACH Plaintiffs.”

                  Plaintiffs Arany, Brady, Coleman, Leone, King, Lathrop, Pruess, Pryor, Shelley,

Turnage, Johnson, and Wolff are collectively referred to as the “IDR Plaintiffs.”

                  Plaintiffs Bonham, Coleman, Davis, Harig, King, Lathrop, Levis, Miller, Pruess,

Shelley, Gupta, Johnson, and Wolff are collectively referred to as the “PSLF Plaintiffs.”

         B. Defendants

                       Defendant Pennsylvania Higher Education Assistance Agency (“PHEAA”) is

a Pennsylvania corporation with its principal place of business at 1200 North 7th Street,

Harrisburg, Pennsylvania 17102.

                       PHEAA is a national provider of student financial aid services, including

servicing of student loans owned by the federal government.

                       PHEAA conducts its federal student loan servicing activities as FedLoan

Servicing (“FedLoan”). PHEAA is financially independent of the Commonwealth of

Pennsylvania, generates its own commercial revenue, and makes its own fiscal and policy

decisions.

                       Defendant United States Department of Education (“Department”) is a United

States federal agency headquartered in the District of Columbia with its principal office located

at 400 Maryland Avenue, SW, Washington DC, 20202.




{2825 / CMP / 00161562.DOCX v1}543166.3            32
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 33 of 107



                       Defendant Elisabeth DeVos (“Secretary DeVos”) is sued solely in her official

capacity as Secretary of Education, in which capacity she has the ultimate responsibility for the

activities of the Department, including the actions complained of in this Consolidated Amended

Class Action Complaint.

                       Secretary DeVos maintains an office at 400 Maryland Avenue, SW,

Washington, D.C. 20202.



                                      SUBSTANTIVE ALLEGATIONS

                                              BACKGROUND

A.       Federal Student Loans and Loan Forgiveness Programs

                  1. Federal Student Loans

                  Approximately 92%, or $1.4 trillion, of all outstanding student loan debt is

currently owned by the federal government. 1

                  Federal student loans offer many benefits that don’t typically accompany private

loans. These include fixed interest rates, income-based repayment plans, loan cancellation for

certain types of employment, deferment (postponement) options, and interest rate reduction

based on repayment method. Also, private loans usually require a credit check, while most

federal loans for students do not.

                  Since 1965, federally guaranteed student loans have been available either through

the Federal Family Education Loan (“FFEL”) (1965 – 2010) or the William D. Ford Federal

Direct Loan (“Direct Loan”) (1994 – present) Programs.




1
 Teddy Nykiel, 2019 Student Loan Debt Statistics, Nerd Wallet, (Sept., 2019), available at
https://www.nerdwallet.com/blog/loans/student-loans/student-loan-debt/.


{2825 / CMP / 00161562.DOCX v1}543166.3                 33
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 34 of 107



                  The FFEL Program was established by the Higher Education Act of 1965

(“HEA”) and guaranteed student loans issued by private lenders to students and parents. The

Program was terminated in 2010 with the passage of the Health Care and Education

Reconciliation Act of 2010. Although no new FFEL loans have been made since June 30, 2010,

millions of FFEL loans originated and disbursed on or before that date are still serviced today.

                  The Direct Loan Program was authorized by the Student Loan Reform Act of

1993 under the HEA, 2 and was first implemented in the 1994-1995 academic year. Loans issued

under the Direct Loan Program are issued directly to students and parents through the

Department of Education. Unlike FFEL Loans, Direct Loans originate with the Department and

are funded through the U.S. Treasury. Since the termination of the FFEL Program in 2010, all

new federal loans have been disbursed under the Direct Loan Program.

                  The FFEL and Direct Loan Programs were designed to expand access to higher

education to those who have financial need and to serve the best interests of students. The Senate

Health Committee on Health, Education, Labor, and Pensions (“HELP”) stated in its 2007

Report on the HEA:

                  The committee believes strongly that lenders, guaranty agencies and
                  institutions of higher education must act with honesty and integrity
                  at all times to ensure that the financial aid programs under title IV
                  serve the best interests of students. 3

                  The Department echoed that objective in a June 2008 “Dear Colleague” letter,

noting the Department’s “pledge to work with the student lending community in forward looking




2
 20 U.S.C. §§ 1087a, et seq.
3
 H.R. Rep. No. 110-500, at 240 (2007), available at
https://www2.ed.gov/about/offices/list/oig/auditreports/fy2019/a05q0008.pdf (last visited Oct. 15, 2019) (emphasis
added).


{2825 / CMP / 00161562.DOCX v1}543166.3                 34
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 35 of 107



solutions to ensure FFEL Program and other student lending programs serve the best interests of

students and taxpayers for years to come.” 4

                  Similarly, the House of Representatives Committee on Education and Labor

stated: “[t]he nation’s financial aid system exists for a single purpose: to serve students and their

families. 5

                  2. Repayment and Income-Driven Repayment (“IDR”) Plans

                  When federal student loans first enter repayment, borrowers may select from one

of several repayment plans.

                  Under the Standard Repayment Plan, a borrower’s monthly payments are fixed

and calculated to allow borrowers to repay their debt in ten years. This plan typically results in

the highest monthly payment amount, but less interest over the term of the loan. The Standard

Repayment Plan is the default repayment plan for borrowers who have not chosen another plan.

                  Borrowers may also choose the Graduated Repayment plan, which maintains a

10-year repayment term but allows the payments to start small and gradually increase every two

years, or the Extended Repayment plan, which extends the repayment term to as much as 25

years and allows for either fixed or graduated monthly payments.

                  Recognizing the financial challenges that student borrowers face when repaying

their loans, the federal government, as compared to a private lender, also offers four unique IDR

Plans designed to make the repayment of student loans less onerous and to help borrowers

manage their student loan debt. These plans include:

                       Income-Contingent Repayment (“ICR”);



4
  FSA Publication (June 19, 2008), available at https://ifap.ed.gov/dpcletters/061908GEN0808.html (last visited
Oct. 15, 2019) (emphasis added).
5
  Id.


{2825 / CMP / 00161562.DOCX v1}543166.3                 35
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 36 of 107



                       Income-Based Repayment (“IBR”);

                       Pay-As-You-Earn (“PAYE); and

                       Revised Pay-As-You-Earn (“REPAYE”).

    (collectively “IDR Plans”).

                  As of March 2019, more than 7.8 million Direct Loan and FFEL borrowers were

enrolled in IDR Plans. 6

                  IDR Plans have several qualities that make them attractive to student loan

borrowers.

                  For example, a borrower’s monthly payment amount is based on his or her annual

income and family size. The monthly payment amount is calculated as a percentage of his or her

discretionary income and is capped at 10-20% of that income. 7 Discretionary income is

determined by taking the difference between a borrower’s adjusted gross income (“AGI”) and

150% of the federal poverty guideline amount based on the borrower’s family size and location.

                  This adjusted payment is designed to provide a more affordable monthly payment

than is available under the 10-year Standard Repayment Plan and may be as low as $0 per

month.

                  Certain plans (IBR and PAYE) are available only to borrowers with a “Partial

Financial Hardship.” A borrower has a Partial Financial Hardship when their annual payments

under the 10-year Standard Repayment Plan exceed 10% (PAYE) or 15% (IBR) of the difference

between their AGI and 150% of the poverty line for their family size. 8


6
  News Release, Federal Student Aid an Office of the U.S. Department of Education, Federal Student Aid Posts New
Reports to FSA Data Center (Aug. 7, 2019), available at
https://ifap.ed.gov/eannouncements/080719FSAPostsNewReportsToFSADataCenter.html.
7
  34 C.F.R. § 685.209(a)(1)(v) (PAYE); 34 C.F.R. § 685.209(b)(1)(ii) (ICR); 34 C.F.R. § 685.209(c)(2) (REPAYE);
34 C.F.R. § 685.221(a)(5) (IBR).
8
  34 C.F.R. § 685.209(a)(1)(v) (PAYE); 34 C.F.R. § 685.221(a)(5) (IBR).


{2825 / CMP / 00161562.DOCX v1}543166.3               36
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 37 of 107



                  Another benefit of IDR Plans is loan forgiveness (separate from the Public

Service Loan Forgiveness Program). Each IDR plan forgives the outstanding balance on eligible

loans after 20 or 25 years (depending on the plan) of qualifying repayment. Periods of

forbearance, however, do not count towards the qualifying repayment period.

                  Certain Plans (IBR, PAYE, and REPAYE) further provide for federal interest

subsidy benefits. If a borrower’s monthly payment amount does not cover the interest that

accrues, the government will pay 100% of the outstanding interest on subsidized loans for the

first three years the borrower begins repaying the loans under the plan. For REPAYE, the federal

government additionally pays 50% of the outstanding interest on a borrower’s unsubsidized

loans for the first three years and 50% of the outstanding interest on subsidized loans after the

first three years. The government does not pay accrued interest during periods for which the

borrower receives an economic hardship deferment. 9

                  When borrowers enroll in an IDR plan, it is effective for a one-year period

(“Annual Repayment Period”). To renew the plan for each subsequent year, borrowers must

annually recertify their income level and family size. 10

                  Two to three months prior to the expiration of each Annual Repayment Period,

the Department must send the borrower written notice of the annual deadline for recertifying

their IDR plan eligibility.

                  The notice must also include the consequences for failing to recertify within 10

days of the annual deadline, including a significant increase in monthly payments from a low

affordable amount to the amount dictated by the Standard Repayment Plan, and the capitalization



9
 34 C.F.R. § 685.209(a)(2)(iii).
10
  34 C.F.R. § 685.209(a)(5)(i) (PAYE); 34 C.F.R. § 685.209(b)(3)(vi) (ICR); 34 C.F.R. §
685.209(c)(4)(i)(REPAYE); 34 C.F.R. § 685.221(e)(1) (IBR).


{2825 / CMP / 00161562.DOCX v1}543166.3                37
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 38 of 107



of any accrued interest. In addition, the valuable federal interest subsidy benefit provided under

the IBR, PAYE, and REPAYE plans is lost.

                  When a borrower submits his or her annual paperwork to recertify their eligibility

for an IDR Plan, the loan servicer must “promptly” determine the new monthly payment

amount. 11 The Department has stated that the target turnaround time to process IDR applications

and recertifications is approximately fifteen days. 12 And according to a July 20, 2016 policy

direction memorandum on student loan servicing from then Under Secretary for the Department,

Ted Mitchell, to James Runcie, Chief Operating Officer of Federal Student Aid (“FSA”) (an

Office of the U.S. Department of Education), 13 loan servicers should process IDR paperwork

within 10 days. 14

                  Thus, the loan servicer has an affirmative duty to efficiently process the

borrower’s recertification materials to ensure smooth re-enrollment from one year to the next.

                  While the loan servicer is processing a borrower’s IDR renewal request, it “must

maintain the borrower’s current scheduled monthly payment amount” until the new payment

amount is determined. 15




11
   34 C.F.R. § 685.209(a)(5)(viii)(a) (PAYE); 34 C.F.R. § 685.209(b)(3)(vi)(E)(1) (ICR); 34 C.F.R. §
685.209(c)(4)(viii)(a) (REPAYE); 34 C.F.R. §685.221(e)(8)(i) (IBR)).
12
   Douglas-Gabriel, Danielle, Delays. Backlogs. Confusing applications. Obama’s latest student loan plan is having
growing pains, The Washington Post, April 5, 2016, available at http://wapo.st/2oAcgbJ (last visited Oct. 14, 2019)
(“Officials at the department say the majority of servicers are meeting or exceeding the target turnaround time of 15
days. However, PHEAA, which primarily handles borrowers seeking public service loan forgiveness, has a
significant backlog, according to the department.”).
13
   According to the Department, FSA is a “performance-based organization.” About Ed / Overview, U.S.
Department of Education, last modified Oct. 17, 2017, available at
https://www2.ed.gov/about/offices/list/fsa/index.html (last visited Nov. 7, 2019).
14
   Policy Memo from Ted Mitchell, Under Secretary, U.S. Department of Education, to James Runcie, Chief
Operating Officer, Federal Student Aid, July 20, 2016, as updated October 17, 2016, 11, available at
https://www.help.senate.gov/imo/media/doc/Servicing%20Recompete%20Policy%20Memo.pdf (last visited Oct.
14, 2019).
15
   34 C.F.R. §685.221(e)(8)(ii).


{2825 / CMP / 00161562.DOCX v1}543166.3                  38
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 39 of 107



                  Regardless of which repayment plan a borrower is on, borrowers may change

plans at any time during the repayment period. However, there may be harsh financial

consequences for doing so. For instance, all outstanding interest is capitalized when changing

from an IDR Plan to another plan. 16

                  For the IBR Plan, a borrower must also make one payment under the Standard

Repayment Plan before switching to any other payment plan. 17 Because this payment amount is

often unaffordable to borrowers, they can instead request a “reduced payment forbearance” and

make a payment as low as $5. 18 However, any payments made during the “reduced payment

forbearance,” period do not count as a qualifying payment towards loan forgiveness.

                  3. General and Administrative Forbearance

                  Borrowers who cannot afford their monthly payments due to an economic

hardship can seek relief by requesting a general forbearance. A general forbearance allows a

borrower to temporarily stop making payments or to temporarily reduce his or her monthly

payment amount for a specified period under certain circumstances such as financial hardship,

poor health, or other acceptable reasons. 19

                  While a general forbearance may provide a borrower with temporary financial

relief, it can be extremely costly in the long run. Any unpaid interest that accrues during the

forbearance period is “capitalized,” or added to the principal balance of the borrower’s loan.

Capitalization will therefore increase the principal balance and the total cost of the loan.




16
   34 C.F.R. § 685.221(b)(4) (IBR); 34 C.F.R. § 685.209(a)(2)(iv)(A) (PAYE); 34 C.F.R. § 685.209(c)(2)(iv)
(REPAYE).
17
   34 C.F.R. § 685.221(d)(2)(ii).
18
   34 C.F.R. § 685.205(a)
19
   34 C.F.R. §685.205(a).


{2825 / CMP / 00161562.DOCX v1}543166.3                39
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 40 of 107



Furthermore, because borrowers temporarily cease making payments, forbearance delays the

borrower’s progress toward loan forgiveness.

                  Loan servicers may also place a borrower’s loans into “administrative

forbearance” in certain circumstances without the borrower’s approval, such as a period

necessary to determine a borrower’s eligibility for discharge due to bankruptcy, closed school,

and other qualifying events, local or national emergencies, and instances of death or disability.

                  Relevant to this case, a loan servicer may also grant an administrative forbearance

for a period up to 60 days when additional time is needed to collect and process documents

supporting a borrower’s request to change repayment plans (“B-9 Forbearance”). 20 Interest that

accrues during a B-9 Forbearance period is not capitalized.

                  4. Public Service Loan Forgiveness Program

                  Publicly available data suggests that 1-in-4 U.S. workers are employed by a

public service organization. 21 Many professions in this segment of the workforce require

advanced levels of education, including classroom teachers, first responders, clinical social

workers, and early childhood education providers. But the financial costs of these new

credentials fall on individuals in careers with limited opportunity for wage growth to offset these

costs.

                  To address this problem, Congress established the Public Service Loan

Forgiveness Program (“PSLF”) in 2007 as part of the College Cost Reduction and Access Act

(“CCRA”) “to encourage individuals to enter and continue in full-time public service

employment by forgiving the remaining balance of their Direct Loans” after 10 years of


20
  34 C.F.R. §685.205(b)(9).
21
  CFPB, Public Service & Student Debt: Analysis of Existing Benefits and Options for Public Service
Organizations (Aug. 2013), available at
http://files.consumerfinance.gov/f/201308_cfpb_public-service-and-student-debt.pdf.


{2825 / CMP / 00161562.DOCX v1}543166.3                40
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 41 of 107



service. 22 In other words, PSLF was designed “to ensure that nurses, teachers, first responders

and other public servants can serve their communities without it being to their long-term

financial detriment.” 23

                  To qualify for PSLF, borrowers must:

                            Have a qualifying loan, i.e. a Direct Loan or loans that are consolidated
                            into the Direct Loan Program;

                            Be enrolled in a qualifying repayment plan, such as an IDR plan or the
                            Standard Repayment Plan;

                            Be employed full-time by a “qualifying employer,” such as public schools,
                            emergency management, military, Federal, State, local, or Tribal
                            government organization, agency or entity. 24

                            Make 120 on-time “qualifying payments.” “Qualifying payments” must be
                            for the “full scheduled installment amount” and made within 15 days of
                            the scheduled due date. 25

                  Periods during which loans are in forbearance do not qualify towards loan

forgiveness. Additionally, if a borrower consolidates his or her loans, they will lose credit for all

previously made qualifying payments and must start accumulating qualifying payments from

zero.

                  In 2012, the Department awarded PHEAA an exclusive contract to manage the

PSLF Program. When a borrower with loans serviced by another loan servicer expresses intent to

satisfy the requirements for PSLF, that borrower’s loan account is transferred from its current

loan servicer to PHEAA. Borrowers participating in these programs therefore have no choice but

to have their federal loans serviced by PHEAA.



22
   34 C.F.R. §685.219(a).
23
   CFPB, Staying on Track While Giving Back: The Cost of Student Loan Servicing Breakdowns for People Serving
their Communities (June 22, 2017), https://www.consumerfinance.gov/data-research/research-reports/staying-track-
while-giving-back-cost-student-loan-servicing-breakdowns-people-serving-their-communities/.
24
   121 STAT. 801, Sec. 401(B); 34 C.F.R. §685.219(b)(1)(ii).
25
   34 C.F.R. §685.219(1)(iii).


{2825 / CMP / 00161562.DOCX v1}543166.3                41
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 42 of 107



                  Beginning January 2012, borrowers seeking loan forgiveness under the PSLF

program may voluntarily submit an Employment Certification Form (“ECF”). According to the

Department, the ECF Process allows borrowers to certify that their employment and payments

qualify for the PSLF Program. Thus, borrowers can confirm their qualifying employment and

receive an up-to-date count of PSLF qualifying payments to monitor their progress towards loan

forgiveness.

                  While Defendants recommend that borrowers submit ECFs annually, or when

they change employers, borrowers are not required to do so.

                  As the exclusive servicer of the PSLF Program, the Department relies on PHEAA

to process ECFs.

                  After completing 120 eligible monthly payments, borrowers may apply for loan

forgiveness through a separate application. If a borrower submitted ECFs covering the entire

period during which she made 120 qualifying payments, then she must submit “one additional”

ECF to verify that she is employed full-time with a qualifying public service organization at the

time she submits the application. If a borrower did not submit ECFs prior to completing her loan

forgiveness application, or only submitted a portion of them, then she must provide all the

remaining ECFs upon her application for loan forgiveness.

                  If PHEAA determines that a borrower meets all of the requirements for

forgiveness, it forwards the application to the Department for final review. If the Department

agrees with PHEAA’s determination, the Department directs PHEAA to forgive the remaining

balance of the borrower’s loans.




{2825 / CMP / 00161562.DOCX v1}543166.3          42
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 43 of 107



                  In September 2017, ten years after borrowers who began making qualifying PSLF

payments when the program came into effect in 2007 were first eligible for loan forgiveness

under the PSLF Program in September 2017.

                  Over 19,300 borrowers had submitted loan forgiveness applications as of April

2018; the Department approved only 55 of those applications – less than 1% of borrowers who

applied. 26 Of the applications processed, over 40% were denied only because they had not yet

made the 120 qualifying payments.

                  After a public outcry over borrowers’ inability to gain loan forgiveness under the

PSLF Program, in 2018, Congress created an add-on program called Temporary Expanded

Public Service Loan Forgiveness (“TEPSLF”). Under TEPSLF, borrowers who made some or all

of their payments under a nonqualifying repayment plan may receive loan forgiveness. Congress

set aside $700 million for the program available to borrowers on a first come, first serve basis.

                  But the TEPSLF Program proved to be as big of a failure as PSLF itself.

According to a review by the United States Government Accountability Office (“GAO”),

approximately 54,000 TEPSLF applications were processed; 99% of those applications were

rejected. 27

                  As of June 2019, PHEAA had processed 102,051 PSLF applications; only 1.2%

were approved. Of those applications, 55% were denied because they had not yet made the 120

qualifying payments; 15% were denied because they did not have Direct Loans. 28


26
   U.S. Gov’t Accountability Office, GAO-18-547, Public Service Loan Forgiveness: Education Needs to Provide
Better Information for the Loan Servicer and Borrowers (Sept. 5, 2018) [hereinafter September 2018 GAO Report],
available at https://www.gao.gov/assets/700/694304.pdf (emphasis added).
27
   U.S. Gov’t Accountability Office, GAO-19-595, Public Service Loan Forgiveness: Improving the Temporary
Expanded Process Could Help Reduce Borrower Confusion 11 (Sept. 5 2019) [hereinafter September 2019 GAO
Report], available at https://www.gao.gov/assets/710/701157.pdf (emphasis added).
28
   Federal Student Aid, An Office of the U.S. Dept. of Education, June 2019 PSLF Report, available at
https://studentaid.ed.gov/sa/about/data-center/student/loan-forgiveness/pslf-data (last visited Oct. 14, 2019)
(emphasis added).


{2825 / CMP / 00161562.DOCX v1}543166.3               43
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 44 of 107



                  5. The TEACH Grant Program

                  “The U.S. Department of Education estimates that our country will need

approximately 430,000 new elementary and secondary teachers by the year 2020, particularly in

high-need subject areas such as mathematics, science, and special education.” 29

                  To attract and retain highly qualified teachers in high-need fields at low-income

schools, Congress established the Teacher Education Assistance for College and Higher

Education (TEACH) Grant program in 2007 under the CCRA. 30

                  The TEACH Grant Program provides financial grants up to $4,000 per academic

year to eligible undergraduate, post-baccalaureate, and graduate students who are completing or

plan to complete course work needed to begin a career in teaching. 31 Undergraduate students are

eligible to receive a maximum of $16,000 in TEACH Grants, while graduate students are eligible

for a maximum of $8,000 in TEACH Grants. 32

                  As of 2015, more than $593 million in TEACH Grants had been awarded since

the start of the program in 2007. 33 Since then, from Award Year 2015 to Award Year 2018-2019

Q1, the federal government has disbursed an additional $330 million in TEACH Grants to

115,524 recipients. 34




29
   U.S. Gov’t Accountability Office, GAO-15-314, Higher Education: Better Management of Federal Grant and
Loan Forgiveness Programs for Teachers Needed to Improve Participant Outcomes 1 (Feb. 24, 2015) [hereinafter
February 2015 GAO Report] available at https://www.gao.gov/assets/670/668634.pdf.
30
   20 U.S.C. § 1070g, et seq.
31
   20 U.S.C. § 1070g-1(a)(1).
32
   20 U.S.C. § 1070g-1(d).
33
   February 2015 GAO Report, at 8.
34
   Plaintiffs calculations are based on Department of Education, Title IV Program Volume Reports, Grant Volume,
AY 2015-2016 (Award Year Summary), Q4; AY 2016-2017, Q4 (Award Year Summary); AY 2017-2018, Q4
(Award Year Summary); and AY 2018-2019, Q4 (Award Year Summary), available at
https://studentaid.ed.gov/sa/about/data-center/student/title-iv (last visited Oct. 14, 2019).


{2825 / CMP / 00161562.DOCX v1}543166.3                44
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 45 of 107



                  In exchange for each Grant, students must sign an Agreement to Serve with the

Department that sets forth the recipients’ rights and obligations under the TEACH Grant

program. 35

                  By signing an Agreement to Serve, recipients agree to fulfill a service obligation

that requires them to teach (i) full time, (ii) at a low-income school (i.e., an elementary school,

secondary school, or educational service agency that serves students from low-income families);

(iii) in a high-need field (such as bilingual education and English language acquisition, foreign

language, mathematics, reading specialist, science, and special education); 36 (iv) for a total of at

least four school years within eight years after completing (or ceasing enrollment in) the course

of study for which they received the Grant (the “Service Obligation”). 37

                  Additionally, recipients must “submit evidence of such employment in the form

of a certification by the chief administrative officer of the school upon completion of each year

of such service.” 38

                  If a TEACH Grant recipient fails to satisfy the Service Obligation, that recipient’s

TEACH Grant may be converted to a Federal Direct Unsubsidized Loan that the recipient must

pay back with capitalized interest accruing from the date the TEACH Grant was initially

disbursed to that recipient (“TEACH Loan”). 39

                  The TEACH Grant Program identifies five situations that permit the Department

to convert a TEACH Grant to a TEACH Loan:

                  a.        At the recipient’s request;




35
   20 U.S.C. § 1070g-2(b); 34 C.F.R. § 686.12(a).
36
   20 U.S.C. § 1070g-2(b)(1)(C); 34 C.F.R. § 686.2(d).
37
   See also 20 U.S.C. § 1070g-2(b)(1); 34 C.F.R. § 686.12(b).
38
   20 U.S.C.A. § 1070g-2(b)(1)(D).
39
   34 C.F.R. § 686.43.


{2825 / CMP / 00161562.DOCX v1}543166.3                 45
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 46 of 107



                  b.        The recipient ceased enrollment in the qualifying teaching program prior
                            to completion but fails to timely notify the Department that he or she is
                            meeting or intends to meet the Service Obligation;

                  c.        The recipient ceased enrollment in the qualifying teaching program prior
                            to completion but has not been determined eligible for a suspension of the
                            8-year period for completing the Service Obligation, re-enrolled in a
                            qualifying teaching program, or begun qualifying employment;

                  d.        The recipient does not actively confirm to the Secretary, at least
                            annually, his or her intention to satisfy the agreement to serve;” or

                  e.        The grant recipient failed to begin or maintain qualified employment
                            within the timeframe that would allow that individual to complete the
                            service obligation. 40

                   In 2013, the Department contracted with PHEAA to be the exclusive servicer of

the TEACH Grant Program. As of June 30, 2015, PHEAA was servicing about $444.5 million in

TEACH Grants.

                  A February 2015 GAO report provided that in just a one-year period from August

2013 through September 2014, a remarkable 36,000 of the more than 112,000 TEACH Grants

were converted to loans -- 2,252 were converted in error. The report noted, however, that “[t]he

overall scope of the problem is unknown.” 41

                  The GAO also reported that 64% of requests for assistance from the FSA

Ombudsman “cited problems submitting annual certification paperwork.” 42 “The more common

challenges cited included recipients not receiving reminders that their paperwork was due – as

the servicer is required to send – or asserting that their grant was converted through no fault of

their own.” 43




40
   34 C.F.R. § 686.43(a).
41
   February 2015 GAO Report, at 26-27.
42
   February 2015 GAO Report, at 21
43
   Id.


{2825 / CMP / 00161562.DOCX v1}543166.3              46
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 47 of 107



                  The Department later reported in March 2018 that of those TEACH Grant

recipients whose grants were converted to loans and who reported the reason they did not certify

annually, 19.9% “forgot about annual certification,” 44.0% “did not know about annual

certification or the process,” and 30.7% “found the annual certification process challenging.” 44




                  In January 2019, the Department announced that certain TEACH Grant recipients

whose TEACH Grants were converted to TEACH Loans could request reconsideration of the

conversions by calling or emailing PHEAA and showing that they have met or are meeting the

requirements of the Service Obligation. PHEAA would then determine whether the recipient

qualifies to have his or her loans reconverted to a TEACH Grant.

                  However, as alleged in this Complaint, the Reconsideration Process has failed to

adequately remedy the devastating financial consequences recipients suffered as a result of

Defendants’ failures.



44
  American Institutes for Research, Study of the Teacher Education Assistance for College and Higher Education
(TEACH) Grant Program, 51 (March 2018), prepared for U.S. Dept. of Education: Office of Planning, Evaluation
and Policy Development Policy and Program Studies Service, available at
https://www2.ed.gov/rschstat/eval/highered/teach-grant/final-report.pdf (last visited Oct. 14, 2019).


{2825 / CMP / 00161562.DOCX v1}543166.3               47
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 48 of 107



B.       PHEAA’s Contract with The Department to Service Federal Student Loans and
         Teach Grants

                  In 2009, the Department awarded PHEAA and three other for-profit loan servicers

a servicing contract for an initial term of five years. These four companies are referred to as the

Title IV Additional Servicer entities, or “TIVAS Entities.”

                  As of September 30, 2018, PHEAA was the largest servicer of federally owned

student loans in the United States, according to data from the Department’s National Student

Loan Data System (“NSLDS”).

                  Student loan servicers are a crucial link between borrowers and lenders. Common

loan servicing activities include:

              •    Providing required disclosures to borrowers about various Direct Loan terms and
                   conditions during repayment;

              •    Providing information to borrowers on the several repayment plan options, such
                   as the Standard Repayment Plan and the various IDR Plans;

              •    Providing information to borrowers about loan cancellation, discharge, and
                   forgiveness benefits;

              •    Processing applications for enrollment in a borrower’s selected repayment plan,
                   calculating the amount of monthly payments, and sending occasional
                   communications to borrowers regarding their selected repayment plans;

              •    Recertifying borrower eligibility for IDR Plans and recalculating monthly
                   payments based on borrower income and family size information provided during
                   the annual recertification process;

              •    Processing applications for loan forgiveness benefits, including benefits offered
                   under the Public Service Loan Forgiveness Program;

              •    Collecting and applying loan payments to outstanding balances; and

              •    Providing delinquency and default prevention activities. 45


45
  Congressional Research Service Report, Administration of the William D. Ford Federal Direct Loan Program,
May 11, 2017, prepared for Members and Committees of Congress, available at
https://www.everycrsreport.com/files/20170511_R44845_042ef4643defb8ff20cb2ab457af085a0479de60.pdf (last
visited Oct. 14, 2019).


{2825 / CMP / 00161562.DOCX v1}543166.3              48
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 49 of 107



                  As the exclusive loan servicer for the TEACH Grant and PSLF Programs,

PHEAA provides additional services with respect to the administration of those programs,

including:

              •    Processing TEACH Grant annual certification paperwork;

              •    Processing PSLF Employment Certification Forms; and

              •    Processing applications for forgiveness under PSLF.

                  The Department renegotiated the terms of PHEAA’s contract, as well as the other

TIVAS Entities’ contracts, in 2014 and extended its terms until June 2019. According to the

Department’s August 29, 2014 press release, the renegotiated contracts are intended to benefit

borrowers:

                  As a result of President Obama’s executive actions to help make
                  student loans more affordable, the U.S. Department of Education
                  has announced several new steps to help federal student loan
                  borrowers better manage their student debt. … the Department has
                  renegotiated the terms of its contracts with federal student loan
                  servicers in order to strengthen incentives for them to provide
                  excellent customer service and help borrowers stay up-to-date on
                  their payments. This action will help ensure that borrowers receive
                  the highest quality support as they repay their federal student loans
                  and help the Department better monitor the performance of loan
                  servicers to help them continue to improve.

                  ***

                  The renegotiated terms of the federal student loan servicer contracts
                  are structured to create additional incentives for servicers to focus
                  on the Department’s priorities: effective counseling and outreach
                  to ensure borrowers select the best repayment option for them, and
                  enhanced customer satisfaction for student and parent borrowers
                  at all stages of the student loan life cycle. 46




46
  Press Release, U.S. Dept. of Education, U.S. Department of Education Strengthens Federal Student Loan
Servicing, Aug. 29, 2014, available at https://www.ed.gov/news/press-releases/us-department-education-
strengthens-federal-student-loan-servicing (last visited Oct. 14, 2019) (emphasis added).


{2825 / CMP / 00161562.DOCX v1}543166.3                49
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 50 of 107



                  At all times, PHEAA’s contract with the Department was premised on its

obligation to “maintain[] a full understanding of all federal and state laws and regulations and

FSA requirements” 47 and “ensure[] that all aspects of the service continue to remain in

compliance as changes occur.” 48 PHEAA is obligated to maintain “procedures and systems” that

“shall include a system of internal controls that ensures resource use is consistent with laws,

regulations and policies.” 49

                  The importance of PHEAA’s compliance with governing law is underscored by

the contract’s prohibition of PHEAA from billing the government for loans that have not been

“serviced in compliance with the Requirements, Policy and Procedures for servicing federally

held debt due to the fault of the servicer (i.e. correct interest calculations, correct balances,

interest determinations and calculations, notices sent properly, proper due diligence, etc.).” 50

                  As with all federal loan servicers, PHEAA’s contract is a performance-based

contract intended to promote competition among loan servicers and provide the “best of business

services” to borrowers. The Department “expects [PHEAA] to provide commercially available

services that will yield high performing portfolios and high levels of customer satisfaction.” 51

                  The Department seeks to achieve the effective use of its performance-based

contracts, in part, by establishing a common pricing schedule whereby PHEAA receives a per-

unit fee for each loan that it administers. The amount of the fee depends on the status of the loan

and the total volume of loans in that status category.

                  The 2009 common pricing structure is set forth below:




47
   2009 Contract, at 20, Paragraph C.1.4.3.
48
   Id.
49
   2009 Contract, Attachment A-1.
50
   2009 Contract, Addendum 1, p. 12.
51
   2009 Contract, Attachment A-1, p.3.


{2825 / CMP / 00161562.DOCX v1}543166.3           50
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 51 of 107



                                           VOLUME             VOLUME
 STATUS                                                                         UNIT PRICE
                                           LOW                HIGH

 Borrowers in in-school status             N/A                N/A               $ 1.050

 Borrowers in grace or current             1                  3,000,000         $ 2.110

 repayment status

                                           3,000,001          UP                $ 1.900

 Borrowers in deferment or                 1                  1,600,000         $ 2.070

 forbearance

                                           1,600,000          UP                $ 1.730

 Borrowers 31-90 days delinquent           N/A                N/A               $ 1.620

 Borrowers 91-150 days delinquent          N/A                N/A               $ 1.500

 Borrowers 151-270 days delinquent N/A                        N/A               $ 1.370

 Borrowers 270+ days delinquent            N/A                N/A               $ 0.500



                  Under this fee structure, PHEAA is compensated only for those loans that remain

in its portfolio. When the balance on a loan account is forgiven pursuant to an IDR plan or PSLF,

that loan account is removed from PHEAA’s portfolio and PHEAA no longer receives

compensation for that account.




                  The Department’s common pricing structure was revised as of September 1, 2014

as follows:




{2825 / CMP / 00161562.DOCX v1}543166.3          51
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 52 of 107



                                                      UNIT           UNIT
 STATUS                                   UNIT
                                                     MEASURE         RATE

 In School                                1+           EA             $1.05

 In Grace                                 1+           EA             $1.68

 In Repayment                             1+           EA             $2.85

 Service Member                           1+           EA             $2.85

 Deferment                                1+           EA             $1.68

 Forbearance                              1+           EA             $1.05

 Delinquent 6-30 days                     1+           EA             $2.11

 Delinquent 31-90 days                    1+           EA             $1.46

 Delinquent 91-150 days                   1+           EA             $1.35

 Delinquent 151-270 days                  1+           EA             $1.23

 Delinquent 271-360 days                  1+           EA             $0.45

 Delinquent 361 or more Days              1+           EA             $0.45

 Delinquency Reduction                    N/A          N/A        Not-to-Exceed

 Compensation Program                                              $2,000,000

 Cohort Default Rate (CDR) Challenge Support

    Institution                           1+           EA           $213.00

    Borrower                              1+           EA            $23.00

 Loan Consolidation

     One-Time Development Cost            N/A          N/A        Not-to-Exceed

                                                                   $1,200,000

     Consolidations Completed             1+           EA            $27.35



{2825 / CMP / 00161562.DOCX v1}543166.3         52
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 53 of 107



 CDR Assistance Pilot (rate per                1+                           EA                 $18,000

 school assisted)

 Public Service Loan Forgiveness (PSLF)

      Approved Employment                      1+                           EA                   $5.00

      Certification Form

        Denied Employment                      1+                           EA                   $2.50

        Certification Form

 Borrowers in TEACH Grant Status               1+                           EA                   $1.05



                   PHEAA’s loan servicing contract with the Department also requires PHEAA to

deploy “best of business practices” 52 Although the contract does not specifically define “best of

business practices,” the Department looks to best practices employed in servicing other forms of

consumer debt, including the mortgage industry.

                  As Defendant Secretary DeVos has stated, the Department must “ensure that the

services [the Department] deliver are on par with those of world-class financial firms and world-

class customer experiences.” 53

                  Likewise, an interagency Presidential Task Force consisting of the Department,

Office of Management and Budget, Department of the Treasury, and Domestic Policy Council

appointed in 2015 to specifically recommend best practices for federal student loan servicers




52
   2009 Contract, Attachment A1 at 3 and Attachment A-2 at 3.
53
   Press Release, U.S. Dept. of Education, Prepared Remarks by U.S. Secretary of Education Betsy DeVos to
Federal Student Aid’s Training Conference, November 27, 2018, available at
https://www.ed.gov/news/speeches/prepared-remarks-us-secretary-education-betsy-devos-federal-student-aids-
training-conference (last visited Oct. 14, 2019).


{2825 / CMP / 00161562.DOCX v1}543166.3               53
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 54 of 107



(“Presidential Task Force”), based its recommendations, in part, on its discussions with mortgage

lenders, servicers, and mortgage industry experts.

                  As discussed in this Complaint, Defendants’ loan servicing activities have fallen

far short of industry best practices.

C.       PHEAA’s Fiduciary Role as a Consumer Advocate for Borrowers

                  1. The Department Delegates Advisory Duties to PHEAA

                  Given the complexity of the FFEL and Direct Loan Programs, an important

responsibility of PHEAA and other loan servicers is to provide borrowers with the necessary

information to best manage their loans and assist them in making decisions throughout the life of

their loan(s). As the Department of the Treasury acknowledged

                  [t]he natural consequence of th[e] complexity [of the federal student
                  loan system] is that it is difficult for borrowers, even those who are
                  sophisticated, to navigate the program and effectively manage their
                  repayment responsibilities. Because the program is difficult to
                  understand, borrowers rely on servicers to answer questions about
                  repayment, enroll borrowers in an appropriate and sustainable
                  repayment plan, and assist borrowers when they struggle to make
                  their payments.” 54

                  In authorizing the Department to contract with third parties like PHEAA to

service and administer federal student loan programs, Congress intended for loan servicers to

serve in a unique advisory capacity in the best interest of borrowers that far exceed the role of

conventional loan servicers. Unlike federal student loan servicers, traditional loan servicers do

not service loans with an expansive array of complex repayment options and loan forgiveness

programs.




54
  U.S. Dept. of the Treasury, A Financial System That Creates Economic Opportunities: Nonbank Financials,
Fintech, and Innovation (“July 2018 Treasury Report”) at p. 124 (July 2018), available at
https://home.treasury.gov/sites/default/files/2018-07/A-Financial-System-that-Creates-Economic-Opportunities---
Nonbank-Financi....pdf (emphasis added).


{2825 / CMP / 00161562.DOCX v1}543166.3                54
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 55 of 107



                  This Congressional intent is reflected in the structure of the Department and

PHEAA’s performance-based loan servicing contract. For example, in allocating loan servicing

volume to PHEAA, the Department contractually reserves its “right to equitably introduce,

eliminate, or modify loan deliverables/status items that are in the best interest of the …

Borrower” and its “right to unilaterally shift borrowers [among loan servicers] in the best

interest of … Borrowers.” 55

                  When the Department renegotiated the terms of PHEAA and other loan servicers’

contracts in 2014, it further emphasized that the new terms are structured “to create additional

incentives for servicers to focus on the Department’s priorities: effective counseling and

outreach to ensure borrowers select the best repayment option for them.” 56

                  When borrowers enter repayment, the Department directs loan servicers to

“[e]stablish a relationship with the borrower” 57 and “discuss the appropriate repayment plan …

[and] consolidation options;” 58 they also must “[e]ducate and inform borrowers regarding the

tools and options available to assist them in the management of their student loans.” 59 Borrowers

are encouraged to “[c]all the servicer to obtain information on repayment options that best meet

the borrower’s financial situation” and should “[u]nderstand that servicers are there to help.”). 60


55
   2009 Contract, at 14 (emphasis added).
56
   Press Release, U.S. Dept. of Education, U.S. Department of Education Strengthens Federal Student Loan
Servicing (August 29, 2014), available at https://www.ed.gov/news/press-releases/us-department-education-
strengthens-federal-student-loan-servicing (last visited Oct. 15, 2019) (emphasis added).
57
   Mary Oknich and Sue O’Flaherty, Loan Repayment Options: What You Need to Know, U.S. Dept. of Education,
10 (July 2012), available at
https://ifap.ed.gov/presentations/attachments/NASFAA2012LoanRepaymentOptionsWhatYouNeedtoKnow.ppt (last
visited Oct. 15, 2019) (emphasis added).
58
   Mary Oknich and Sue O’Flaherty, Loan Servicing Update, U.S. Dept. of Education, 29 (July 2012), available at
https://ifap.ed.gov/presentations/attachments/NASFAA2012LoanRepaymentOptionsWhatYouNeedtoKnow.ppt (last
visited Oct. 15, 2019) (emphasis added).
59
   Sue O’Flaherty, Federal Loan Servicer Panel Discussion, Federal Student Aid: An Office of the U.S. Dept. of
Education, 5 (Nov. 2012), available at
https://ifap.ed.gov/presentations/attachments/2012FSAConfSession14FederalLoanServicerPanelDiscussion.ppt (last
visited Oct. 15, 2019) (emphasis added).
60
   Loan Servicing Update, 26.


{2825 / CMP / 00161562.DOCX v1}543166.3               55
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 56 of 107



                  In fact, the Department refers to its loan servicer system as a “borrower-centric

approach” intended to “serve borrowers.” 61 The Department also routinely refers to loan

servicers as advisers who can provide advice on repayment options and other resources:

              •   Student loan servicers “are responsible for … advising borrowers on resources
                  and benefits to better manage their federal student loan obligations ….” 62

              •   “Before you apply for an income-driven repayment plan, contact your loan
                  servicer if you have any questions. Your loan servicer will help you decide
                  whether one of these plans is right for you.” 63

                  The Department also directs borrowers to seek “help” and “assistance” from their

loan servicer for everything from payment plans to loan forgiveness:

              •   “The loan servicer will work with you on repayment plans and loan consolidation
                  and will assist you with other tasks related to your federal student loan. 64

              •   “If you need help with this [IDR Request] form, contact your loan holder or
                  servicer for free assistance.” 65

              •   “It is important to maintain contact with your loan servicer. If your circumstances
                  change at any time during your repayment period, your loan servicer will be able
                  to help.” 66

                  Making loan servicers available to help borrowers manage their loans is such an

important objective for the Department, that the Department emphasizes that a borrower’s loan

servicer should be their first and only source for help. In a black box prominently displayed on

FSA’s website, the Department states: 67



61
   Loan Servicing Update, 18, 19 (emphasis added).
62
   Loan Servicing Contracts, FSA, https://studentaid.ed.gov/sa/about/data-center/business-info/contracts/loan-
servicing. (emphasis added).
63
   Income Driven Repayment Plans, FSA, https://studentaid.ed.gov/sa/repay-loans/understand/plans/income-driven.
64
   Loan Servicers, FSA, https://studentaid.ed.gov/sa/repay-loans/understand/servicers. (Emphasis added)
65
   A copy of the Income-Driven Repayment (IDR) Plan Request Form can be found at:
https://static.studentloans.gov/images/idrPreview.pdf.
66
   A loan servicer will help you manage the repayment of your federal student loans—for free, FSA, available at
https://studentaid.ed.gov/sa/repay-loans/understand/servicers
67
   Income Driven Repayment Plans, FSA, https://studentaid.ed.gov/sa/repay-loans/understand/plans/income-driven.
(emphasis added).


{2825 / CMP / 00161562.DOCX v1}543166.3               56
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 57 of 107




                  An FSA Q&A similarly states:

                  What should I do if I am contacted by someone who wants to charge
                  me fees to consolidate my federal student loans or to apply for an
                  income-based repayment plan?

                  Contact your federal loan servicer; these services and more can be
                  completed by your servicer for free! If you are contacted by a
                  company asking you to pay “enrollment,” “subscription,” or
                  “maintenance” fees to enroll you in a federal repayment plan or
                  forgiveness program, you should walk away. 68

                  Similarly, the official blog of the Department published an article entitled, “Don’t

Be Fooled: You Never Have to Pay for Student Loan Help.” In the article, the Department

boasts:

                  You never need to pay for help with your student loans. For the
                  great price of free, the U.S. Department of Education can help you:

                        •   Lower Monthly Payments

                        •   Consolidate Federal Student Loans

                        •   Check on Loan Forgiveness; and

                        •   Get Out of Default

                  Your loan servicer … can also help you with these goals for free. 69




69
  Ted Mitchell, Don’t Be Fooled: You Never Have to Pay for Student Loan Help, HomeRoom: The Official Blog of
the U.S. Dept. of Education, Jan. 29, 2016, available at https://blog.ed.gov/2016/01/dont-be-fooled-you-never-have-
to-pay-for-student-loan-help/ (last visited Oct. 15 2019) (emphasis in original).


{2825 / CMP / 00161562.DOCX v1}543166.3                 57
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 58 of 107



                  2. PHEAA Holds Itself Out as an Advisor

                  PHEAA, too, represents itself as an advisor, available to offer assistance and

advice to borrowers, particularly in relation to payment plan and loan forgiveness options. In

fact, PHEAA refers to its call center representatives as “Loan Counselors.”

                  In addition to the advisory services provided by PHEAA’s Loan Counselors,

PHEAA maintains an “Office of Consumer Advocacy,” whose stated mission is: to “provide[]

assistance to consumers with problems and concerns related to their student loans” and “listen

to and investigate your concerns, and serve as your liaison with PHEAA operational staff

regarding your issue.” 70 It instructs borrowers to be “transparent about your concerns and your

situation so that we may best serve your needs.” 71

D.       The Department’s Oversight of Federal Student Loans and Student Loan Servicers

                  Congress created the Department as a cabinet-level department in 1979 to oversee

federal education programs because education “is too important to be mismanaged or denigrated

within the federal government structure.” 72 The Department’s role includes “guaranteeing equal

access to educational opportunities” and “maintaining significant higher education loan and grant

programs to open doors for all students desiring to continue their education beyond public

school.” 73

                  The Department’s founding purposes include:

                  “[T]o strengthen the Federal commitment to ensuring access to
                  equal educational opportunity for every individual;” 74

                  ****


70
    PHEAA: Office of Consumer Advocacy, available at https://www.pheaa.org/about/contact-us/office-consumer-
advocacy.shtml (last visited Oct. 15, 2019).
71
   Id. (emphasis added).
72
   S. Rep. No. 96-49 (1979).
73
   Id.
74
   20 U.S.C. § 3402(1).


{2825 / CMP / 00161562.DOCX v1}543166.3              58
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 59 of 107



                  “[T]o improve the management and efficiency of Federal education
                  activities, especially with respect to the process, procedures, and
                  administrative structures for the dispersal of Federal funds; . . .” 75

                  *****

                  “[T]o increase the accountability of Federal education programs to
                  the President, the Congress, and the public.” 76

                  Today, the Department is one of the world’s largest lenders, with a “consumer

loan portfolio . . . larger than [that of] J.P. Morgan and Bank of America.” 77 As of 2018, the

Department’s assets totaled $1.328 billion, over 90% of which is student loan receivables under

the FFEL and Direct Loan Programs. 78

                  The Department receives oversight authority and obligations from three distinct

sources: 1) Congressional statutes establishing Title IV programs, 2) contractual relationships

with Title IV servicers, and 3) Federal Internal Control Standards.

                  The Department established the FSA 79 to manage the administrative and oversight

functions supporting the federal student financial aid programs, including the TEACH Grant

Program, the FFEL Loan Program, and the Direct Loan and PSLF Programs. 80 The

Congressional mandated purposes of FSA include:




75
   20 U.S.C. § 3402(6).
76
   20 U.S.C. § 3402(7).
77
   Betsy DeVos, U.S. Sec’y of Education, Examining Policies and Priorities of the U.S. Dep’t of Educ.: Hearing
Before the House Comm. on Educ. and Labor, Statement Before the Committee on Education and Labor, 116th
Cong. 5 (Apr. 10, 2019) available at,
https://edlabor.house.gov/imo/media/doc/SecretaryDeVosTestimony041019.pdf (last visited Oct. 17, 2019).
78
   See U.S. Dep’t of Educ., FY2018 Agency Financial Report 9 (Nov. 15, 2018), available at
https://www2.ed.gov/about/reports/annual/2018report/agency-financial-report.pdf (hereinafter “DOE, FY2018
Agency Financial Report”) (last visited Oct. 17, 2019).
79
   In the 1990s, the GAO designated FSA as a “high-risk agency with longstanding management problems.” Then in
1998, to improve the efficiency and effectiveness of FSA and to mitigate the mishandling of limited resources
moving forward, Congress converted it to a performance-based organization that would have to meet specific
objectives under the HEA. See Federal Student Aid: Performance-Based Organiza-tion Review: Joint Hearing
Before the Subcomm. on Gov’t Operations of the Comm. on Oversight and Gov’t Reform, 114th Cong. 5 (Nov. 18,
2015) (statement of Hon. Virginia Foxx, Chairwoman of the Subcomm. on Higher Educ. and Workforce Training).
80
   20 U.S.C.A. § 1018


{2825 / CMP / 00161562.DOCX v1}543166.3              59
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 60 of 107



                  (A)     to improve service to students and other participants in
                  [federal] student financial assistance programs…, including making
                  those programs more understandable to students and their parents;

                  ***

                  (C)    to increase the accountability of the officials responsible for
                  administering the operational aspects of these programs;

                  ***

                  (G)     to develop and maintain a student financial assistance system
                  that contains complete, accurate, and timely data to ensure program
                  integrity. 81

                  FSA administers the Title IV programs, in part, through PHEAA and other loan

servicers. In fact, Congress requires the Department to enter into loan servicing contracts, to the

extent practicable, for the Direct Loan Program and PSLF, and grants authority to contract for

“such other aspects of the direct student loan program as the Secretary determines are necessary

to ensure the successful operation of the program.” 82 Similarly, the HEA authorizes the

Department to contract with third parties or otherwise delegate to third parties any of the

Department’s functions concerning the FFEL Program. 83

                  Currently, the Department contracts with nine federal student loan servicers to

manage its approximately $1.5 trillion student loan portfolio. 84

                  In contracting with third parties to perform servicing and other administrative

functions for the Title IV Programs, however, “FSA is responsible for ensuring servicers comply

with all requirements for servicing federally held student loans, including requirements relevant

to income-driven repayment plan, forbearance and deferments of loan payments, consolidation


81
   Id.
82
   20 U.S.C. 1087f(b)(4).
83
   20 U.S.C. 1086(a).
84
   September 2018 GAO Report, at 3; see also Post-secondary National Policy Institute, Issue Primers, Federal
Student Loan Servicers Fig. 7 (Mar. 8, 2019), http://pnpi.org/federal-student-loan-servicing/ (last visited Oct. 17,
2019).


{2825 / CMP / 00161562.DOCX v1}543166.3                   60
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 61 of 107



of loans, and principal and interest payments.” 85 The Department, however, maintains ultimate

responsibility for the performance of the operational processes of its loan servicers. 86 Indeed, the

Department has admitted that “the Department has the ultimate authority to review [PHEAA’s]

actions under its contract.” 87

                  Part of the Department’s obligations in overseeing PHEAA and other student loan

servicers is to provide clear, sufficient and consistent guidance and conduct monitoring activities.

According to a July 27, 2018 GAO Report:

                  In administering the Direct Loan program, Education uses numerous
                  approaches to oversee the performance of its contractors, including
                  issuing instructions and guidance to loan servicers. In addition to
                  providing written communications, Education meets with servicers
                  to discuss program operations and policy. Education also conducts
                  various monitoring activities, including monitoring selected calls
                  between servicers and Direct Loan borrowers to help ensure both
                  acceptable customer service and servicer compliance with statutory,
                  regulatory, and contractual requirements. 88

                  The loan servicing contracts similarly identify the types of oversight

responsibilities of the Department to ensure loan servicers comply with the requirements of their

contracts, including PHEAA’s obligation to “provide [FSA] the ability to monitor phone calls

remotely,” “support quarterly monitoring reviews completed by FSA,” and “support annual

program compliance reviews done by FSA, or by an agent of FSA.” 89 Secretary DeVos has




85
   Federal Student Aid: Additional Actions Needed to Mitigate the Risk of Servicer Noncompliance with
Requirements for Servicing Federally Held Student Loans, U.S. DEPARTMENT OF EDUCATION OFFICE OF INSPECTOR
GENERAL (February 12, 2019), https://www2.ed.gov/about/offices/list/oig/auditreports/fy2019/a05q0008.pdf.
86
   Standards for Internal Control in the Federal Government (“Internal Standards”), Section OV4.01, p. 17 (Sept.
2014).
87
   Answer at ¶ 66, Am. Bar Ass’n v. U.S. Dep’t of Educ., No. 16-2476 (D.D.C.), ECF No. 14.
88
   U.S. Gov’t Accountability Office, GAO-18-587R, Federal Student Loans: Further Actions Needed to Implement
Recommendations on Oversight of Loan Servicers 2 (July 2018) [hereinafter July 2018 GAO Report], available at
https://www.gao.gov/assets/700/693475.pdf.
89
   2009 Contract, A-2 at 11.


{2825 / CMP / 00161562.DOCX v1}543166.3                61
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 62 of 107



assured Congress that the Department “will continue to monitor the servicers to make sure they

are upholding the agreements they have made on behalf of the students.” 90

                  When a loan servicer falls out of compliance with its servicing obligations,

including failure to properly calculate interest and send proper notice, the Department has two

primary enforcement tools: (1) nonpayment of loan servicing fees, and (2) reallocation of loan

volume to another loan servicer.

                  According to PHEAA’s contract, PHEAA may not bill the Department for any

loan that is not serviced in compliance with the requirements of the contract:

                  Borrowers whose loans are not being serviced in compliance with
                  the Requirements, Policy and Procedures for servicing federally
                  held debt due to the fault of the servicer (i.e. correct interest
                  calculations, correct balances, interest determination and
                  calculations, notices sent properly, proper due diligence, etc.) will
                  not be billable to the Government from the initial point of non-
                  compliance. Any funds that have been invoiced for these borrowers
                  and paid shall be returned to the Government via a credit on the next
                  invoice. 91

                  PHEAA’s contract further provides that the Department may reallocate the

volume of loans serviced by PHEAA to another loan servicer:

                  If a servicer is out of compliance …, that servicer’s new volume may
                  be re-allocated to one or more other servicers until compliance has
                  been achieved. In addition, that servicer’s current account volume
                  may be transferred to another servicer, at the non-compliant
                  servicer’s expense. 92

                  As alleged in this Complaint, however, the Department was well aware of

PHEAA’s non-compliance, but failed to impose these penalties and hold PHEAA accountable

for its widespread and pervasive instances of non-compliance.



90
   Examining Policies and Priorities of the U.S. Dep’t of Educ.: Hearing Before the H. Comm. on Educ. And Labor,
116th Cong. (April 10, 2019) at 00:37:38 (testimony of Elisabeth DeVos, Secretary of Education).
91
   2009 Contract, at 12.
92
   Contact, Attachment A-4, page 2-3.


{2825 / CMP / 00161562.DOCX v1}543166.3                62
           Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 63 of 107



                  The Department is also obligated to follow Federal Internal Control Standards,

(”Internal Standards”), that apply to all federal executive agencies. 93 As with other statutory

requirements, the purpose of these standards is to ensure that an entity’s objectives will be

achieved. 94 Apart from establishing internal control policies and procedures, the Internal

Standards set out clear guidance that federal entities must follow to ensure the entity objectives

are achieved, including guidance on assessing risks, information control, communication,

compliance with federal guidelines, and remediation of deficiencies in any area of internal

control.

                  For example, agency management must ensure “compliance with applicable laws

and regulations,” 95 actively “evaluate[s] and document[s] the results of ongoing monitoring…to

identify internal control issues,” 96 “evaluate performance and hold individuals accountable for

their internal control responsibilities,” 97 and “remediate identified internal control deficiencies

on a timely basis.” 98

                  As part of its internal monitoring processes, the Department “may contract with

service organizations to perform roles in the organizational structure,” however, the Department

must:

                  …communicate to the service organization the objectives of the
                  entity and their related risks, the entity’s standards of conduct, the
                  role of the service organization in the organizational structure, the
                  assigned responsibilities and authorities of the role, and the
                  expectations of competence for its role that will enable the service
                  organization to perform its internal control responsibilities.99



93
   31 U.S.C. § 3512(b). Also known as the “Federal Managers’ Financial Integrity Act (FMFIA).”
94
   Internal Standards, at 5
95
   Id. at 12.
96
   Id. at 20.
97
   Id. at 21.
98
   Id. at 64.
99
   Id. at 32.


{2825 / CMP / 00161562.DOCX v1}543166.3               63
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 64 of 107



                  Further, when the Department, through its oversight functions, learns of a

deficiency, it must “take[] corrective action as necessary to enforce accountability for internal

control in the entity.” 100

                  When the Department learns of a deficiency, whether through its oversight

functions or through external audits, it must,

                  Complete[] and document[] corrective actions to remediate internal
                  control deficiencies on a timely basis. These corrective actions
                  include resolution of audit findings…The audit resolution process
                  begins when audit or other review results are reported to
                  management, and is completed only after action has been taken that
                  (1) corrects identified deficiencies, (2) produces improvements, or
                  (3) demonstrates that the findings and recommendations do not
                  warrant management action. 101

                  Additionally, Internal Standards also require that:

                  Depending on the entity’s regulatory or compliance requirements,
                  the entity may also be required to report issues externally to
                  appropriate external parties, such as the legislators, regulators, and
                  standard-setting bodies that establish laws, rules, regulations, and
                  standards to which the entity is subject. 102

                  In addition to its oversight responsibilities, Internal Standards dictate how an

entity must communicate, both internally and externally with contractors and the general public.

For example, Internal Standards require the Department to communicate with borrowers in a way

to effectively achieve the objectives and purposes of Title IV financial aid programs. 103

                  The Department has failed to administer the federal loan and forgiveness

programs consistent with its obligations under Federal Internal Control Standards.




100
    Id. at 32-33.
101
    Id. at 68-69.
102
    Id. at 68.
103
    Id. at 62 (“Management should externally communicate the necessary quality information to achieve the entity’s
objectives.”).


{2825 / CMP / 00161562.DOCX v1}543166.3                 64
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 65 of 107



                                     CLASS ACTION ALLEGATIONS

                       Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

    Procedure on behalf of themselves and as representatives of the following Classes:

         TEACH Class

         All persons in the United States who received a TEACH Grant serviced by PHEAA
         and who submitted documentation demonstrating that they either 1) are fulfilling
         their obligation; or 2) have fulfilled their obligation, yet had their grant converted
         to an interest-bearing loan from January 1, 2009 to present (the “Class Period”).

         IDR Class:

         All individuals who are student loan borrowers from the federal government and
         who had at least one federal loan serviced by PHEAA and/or any of its assumed
         names between January 1, 2009 and the present (the “Class Period”) whose
         accounts PHEAA placed into forbearance and were damaged as a result.

         PSLF Class:

         All individuals who are student loan borrowers from the federal government and
         who had at least one federal loan serviced by PHEAA and/or any of its assumed
         names between January 1, 2009 and the present (the “Class Period”) who were
         enrolled or intended to enroll in the Public Service Loan Forgiveness Program and
         who did not have their qualifying payments accurately counted by PHEAA and
         were damaged as a result. 104

                  Excluded from the Classes are Defendants and their past and present officers,

directors, management, employees, subsidiaries or affiliates, any Judge to whom this action is

assigned and any member of such Judge’s staff and immediate family, any attorneys who enter

their appearance in this action, and governmental entities not named in this lawsuit.

                  Members of the classes are so numerous and geographically dispersed that joinder

is impracticable. Plaintiffs believe there are thousands of members of the Classes, if not more.




104
    Plaintiffs have defined the Class based on currently available information and hereby reserve the right to amend
the definition of the Class, including, without limitation, the Class Period.



{2825 / CMP / 00161562.DOCX v1}543166.3                 65
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 66 of 107



Further, the Classes are readily identifiable by objective means from information and records

maintained by PHEAA.

                  Plaintiffs’ claims are typical of the claims of the members of the Classes.

Plaintiffs and all members of the Classes were damaged by the same wrongful conduct of

PHEAA. Plaintiffs’ claims and claims of the putative Classes originate from the same fraudulent

and unfair practices. If brought and prosecuted individually, the claims of each putative class

member would necessarily require proof of the same material and substantive facts, rely upon the

same remedial theories, and seek the same relief. Plaintiffs would fairly and adequately protect

the interests of the members of the putative class.

                  PHEAA acted on grounds generally applicable to the entire Classes, therefore

injunctive relief is appropriate. Such generally applicable conduct is inherent in PHEAA’s

wrongful conduct.

                  Questions of law and fact common to the members of the Classes predominate

over questions that may affect only individual Class members. Questions of law and fact

common to the Classes include but are not limited to:

             a.    Whether PHEAA has a common and pervasive practice of improperly
converting TEACH Grants into interest-bearing federal Direct Loans;

               b.      Whether PHEAA has a common and pervasive practice of misprocessing,
delaying, and obstructing enrollment and recertification of IDR Plans;

               c.     Whether PHEAA’s misconduct caused injuries to Plaintiffs and the Class
by causing the improper capitalization of interest, and additional payments towards the payoff of
loans and loan forgiveness;

                  d.        Whether PHEAA as a consumer advocate owed a fiduciary duty to
borrowers;

              e.            Whether PHEAA’s misconduct violates the Racketeer Influenced Corrupt
Organizations Act;

                  f.        Whether PHEAA’s misconduct constitutes unjust enrichment;


{2825 / CMP / 00161562.DOCX v1}543166.3            66
            Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 67 of 107



                  g.        Whether PHEAA’s misconduct violates state consumer protection
statutes;

             h.      Whether PHEAA’s misconduct entitles Plaintiffs and the Classes to
recover compensatory, statutory, treble, and/or putative damages;

                  i.        Whether PHEAA acted as an agent of the Department of Education;

                  j.        Whether PHEAA breached its contract with the Department of Education;

                k.    Whether Plaintiffs and the proposed Classes were third-party beneficiaries
of the contract between PHEAA and the Department of Education;

             l.    Whether Plaintiffs and the Classes are entitled to injunctive relief
enjoining PHEAA from further engaging in unfair and deceptive practices alleged herein; and

                m.          Whether Plaintiffs and the putative Classes are entitled to recover
attorney’s fees.

                  These and other questions of law and fact are common to the Classes and

predominate over any questions affecting only individual Class Members, including legal and

factual issues relating to liability and damages.

                  PHEAA’s conduct was generally applicable to the Classes, thereby making final

injunctive relief appropriate with respect to the Classes as a whole.

                  This class action is superior to any alternatives for the fair and efficient

adjudication of this controversy. There will be no material difficulty in the management of this

action as a class action. Class treatment will also permit the adjudication of relatively small

claims by Class Members who otherwise could not afford to litigate the claim, such as those

asserted herein. Prosecution as a class action will eliminate the possibility of repetitive litigation.

Treatment as a class action will permit a large number of similarly situated persons to adjudicate

their common claims in a single forum simultaneously, effectively, and without the duplication

of effort and expense that numerous individual actions would produce.




{2825 / CMP / 00161562.DOCX v1}543166.3              67
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 68 of 107



                  The prosecution of separate actions by individual Class Members would create

the risk of inconsistent or varying judgments, establishing incompatible standards of law for

PHEAA.

                  Class action treatment also is superior to any alternative method to compensate

the victims of PHEAA’s unlawful conduct—Plaintiffs and the proposed Classes—for the injuries

they have suffered as a direct result of Defendant PHEAA’s conduct.

                                          CLAIMS FOR RELIEF

          COUNT I – ADMINISTRATIVE PROCEDURES ACT, 5 U.S.C. § 706(2)(A),
            Agency Action that is Arbitrary and Capricious, an Abuse of Discretion
                 or Not in Accordance With Law (TEACH Grant Program),

                             (Against the Department and Secretary DeVos)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This count is brought on behalf of the TEACH Plaintiffs and members of the

TEACH Class against the Department of Education.

                  The Administrative Procedures Act (“APA”) provides that “the reviewing court

shall … hold unlawful and set aside agency action, findings, and conclusions found to be …

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. §

706(2).

                  The Department acted arbitrarily and capriciously, abused its discretion, and/or

failed to comply with the requirements of applicable statutes and regulations with respect to each

of the following actions:




{2825 / CMP / 00161562.DOCX v1}543166.3            68
            Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 69 of 107



                    a.       Failing to seek OMB approval for the annual TEACH Grant Certification

form as required by The Paperwork Reduction Act, 44 U.S.C. § 3506(c); 105

                    b.       Subjecting TEACH Plaintiffs and members of the TEACH Class to

penalties, as prohibited by The Paperwork Reduction Act, 44 U.S.C. § 3512(a), by converting

recipients’ TEACH Grants to TEACH Loans for failure to submit a completed annual TEACH

Grant Certification form, or for submitting a TEACH Grant Certification form that contained

what the Department arbitrarily determined to be errors;

                    c.       Failing to submit to Congress every two years beginning in 2010, a report

on “TEACH grants with respect to the schools and students served by recipients of such grants,”

as mandated by 20 U.S.C.A. § 1070g-4;

                    d.       Converting eligible TEACH Plaintiffs’ and members of the TEACH

Class’ TEACH Grants to TEACH Loans:

                                    i.       without sufficiently communicating the requirements of the
                                             TEACH Grant program to recipients, as required by Principle
                                             15 of the Federal Internal Control Standards;

                                   ii.       without providing proper notice of the annual TEACH Grant
                                             certification deadline, as required by Principle 15 of the
                                             Federal Internal Control Standards;

                                  iii.       due to hyper-technical “mistakes” on completed certification
                                             forms without allowing TEACH Plaintiffs and members of the
                                             TEACH Class time to correct deficiencies;

                                  iv.        without providing the required amount of time after notice of
                                             the annual certification deadline to submit the TEACH Grant
                                             Certification form; and

                                   v.        for reasons not authorized by 20 U.S.C. § 1070g-2(c) and 34
                                             C.F.R. § 686.43.




105
      44 U.S.C. § 3506; 5 C.F.R. § 1320.5.


{2825 / CMP / 00161562.DOCX v1}543166.3                   69
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 70 of 107



                  e.        Denying applications for reconsideration of eligible TEACH Plaintiffs and

members of the TEACH Class pursuant to the TEACH Grant Reconsideration Process;

                  f.        Denying TEACH Plaintiffs and members of the TEACH Class whose

application for reconsideration were granted, with credit and/or a refund for (i) accrued, but

unpaid, interest on TEACH Loans and (ii) payments of principal and interest made towards

TEACH Loans;

                  g.        Failing to sufficiently communicate instructions and guidance to PHEAA

and other loan servicers, as required by Principle 15 of the Federal Internal Control Standards;

                  h.        Failing to monitor PHEAA and other loan servicers for servicer

misconduct, as required by Principle 16 of the Federal Internal Control Standards;

                  i.        Failing to correct deficiencies identified in internal and external audits and

investigations, as required by Principle 17 of the Federal Internal Control Standards.

                  j.        Failing to enforce accountability for PHEAA and other loan servicers’

failure to comply with all applicable laws, regulations, and FSA requirements, as required by

Principle 5 of the Federal Internal Control Standards;

                  The Department’s actions collectively, constitute a long-standing pattern of

failing to administer the TEACH Grant Program in a manner that furthers the important policy

and goals of the HEA and TEACH Grant Program which constitutes actions that are arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.

                  The Department’s actions constitute final agency actions.

                  No further exhaustion is necessary, and in any event, attempts at further

exhaustion would be futile.




{2825 / CMP / 00161562.DOCX v1}543166.3               70
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 71 of 107



                  Accordingly, the Department’s actions should be set aside. Plaintiffs request an

order requiring the Department to (i) reconvert TEACH Plaintiffs’ and members of the TEACH

Class’s TEACH Loans back to TEACH Grants, (ii) provide credit for all accrued but unpaid

interest, (iii) provide a credit or refund for payments of principal and interest made towards the

TEACH Loans.

        COUNT II – ADMINISTRATIVE PROCEDURES ACT, 5 U.S.C. § 706(2)(A),
                    Agency Action that is Arbitrary and Capricious,
           an Abuse of Discretion or Not in Accordance with Law (IDR Plans)

                             (Against the Department and Secretary DeVos)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This count is brought on behalf of the IDR Plaintiffs and members of the IDR

Class against the Department of Education.

                  The Administrative Procedures Act (“APA”) provides that “the reviewing court

shall … hold unlawful and set aside agency action, findings, and conclusions found to be …

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. §

706(2).

                  The Department acted arbitrarily and capriciously, abused its discretion, and/or

failed to comply with the requirements of applicable statutes and regulations with respect to each

of the following actions:

                  a.        Failing to communicate the availability of IDR Plans to IDR Plaintiffs and

members of the IDR Class, as required by Principle 15 of the Federal Internal Control Standards,

by steering them into general forbearance and capitalizing accrued interest;




{2825 / CMP / 00161562.DOCX v1}543166.3             71
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 72 of 107



                  b.        Improperly placing IDR Plaintiffs’ and members of the IDR Class’s loans

into general forbearance, instead of a B-9 administrative forbearance, to accommodate a failure

to timely and promptly process IDR Plan Request Forms seeking a change of repayment plans, in

violation of 34 C.F.R. § 685.205(b)(9);

                  c.        Capitalizing accrued interest on the loans of IDR Plaintiffs and members

of the IDR Class during periods of a B-9 administrative forbearance, in violation of 34 C.F.R. §

685.205(b)(9);

                  d.        Denying IDR Plaintiffs’ and members of the IDR Class IDR Plan Request

Forms for deficiencies without allowing time to correct the deficiencies, as required by internal

policies and procedures;

                  e.        Failing to apply the Missed Deadline Exception to qualified IDR Plaintiffs

and members of the IDR Class, as required by 34 C.F.R. § 685.209(a)(2)(vii) and (ix) (PAYE),

§685.209(b)(vi)(D) and (F) (ICR), §685.209(c)(4)(vii) (REPAYE), and 34 C.F.R. §

685.221(e)(7) and (9) (IBR);

                  f.        Failing to effect mandatory notice of the requirements of the IDR Plan and

the annual deadline for submitting the IDR Plan Request Form and recertification documents, as

required by 34 C.F.R. § 685.209(a)(5)(ii)-(v) (PAYE), § 685.209(b)(v) and (vi)(B); §

685.209(c)(4)(ii) and (iii) (REPAYE), and 34 C.F.R. § 685.221(e)(2)-(5) and by the provisions

of the FFEL and Direct Loans Master Promissory Note.

                  g.        Capitalizing accrued interest on the loans of IDR Plaintiffs and members

of the IDR Class who request to change from an IDR Plan to another repayment plan, without

providing sufficient notice that leaving the IDR Plan to switch to another plan would cause the

capitalization of interest, in violation of Principle 15 of the Federal Internal Control Standards;




{2825 / CMP / 00161562.DOCX v1}543166.3             72
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 73 of 107



                  h.        Failing to issue instructions and guidance to PHEAA and other loan

servicers in the form of a Common Manual for the Direct Loan Program, as instructed by

Congress in the Consolidated Appropriations Act of 2016 (P.L. 114-113);

                  i.        Failing to sufficiently communicate instructions and guidance to PHEAA

and other loan servicers, as required by Principle 15 of the Federal Internal Control Standards;

                  j.        Failing to monitor PHEAA and other loan servicers for servicer

misconduct, as required by Principle 16 of the Federal Internal Control Standards;

                  k.        Failing to correct deficiencies identified in internal and external audits and

investigations, as required by Principle 17 of the Federal Internal Control Standards.

                  l.        Failing to enforce accountability for PHEAA and other loan servicers’

failure to comply with all applicable laws, regulations, and FSA requirements, as required by

Principle 5 of the Federal Internal Control Standards;

                  The Department’s actions and the actions collectively, constitute a long-standing

pattern of failing to administer the FFEL and Direct Loan Programs and IDR Plans in a manner

that furthers the important policy and goals of the HEA and TEACH Grant Program – to serve

the best interests of students.

                  The Department’s failure to administer the FFEL and Direct Loan Programs and

IDR Plans over time in a manner that furthers the important policy and goals of the HEA and the

FFEL and Direct Loan Programs further constitutes actions that are arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law.

                  The Department’s actions constitute final agency action.

                  No further exhaustion is necessary, and in any event, attempts at further

exhaustion would be futile.




{2825 / CMP / 00161562.DOCX v1}543166.3               73
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 74 of 107



                  Accordingly, the Department’s actions should be set aside. Plaintiffs request an

order requiring the Department to provide IDR Plaintiffs and members of the IDR Class with a

credit or refund for (i) the amount of interest improperly capitalized or capitalized as a result of

the Department’s actions, (ii) an amount that represents the lost federal interest subsidy benefits

as a result of periods of improper forbearance or periods of forbearance that resulted from the

Department’s actions; and (iii) credit for qualifying payments towards forgiveness under the IDR

Plan and/or PSLF Program missed as a result of periods of improper forbearance or forbearance

that resulted from the Department’s actions.

        COUNT III – ADMINISTRATIVE PROCEDURES ACT, 5 U.S.C. § 706(2)(A),
              Agency Action that is Arbitrary and Capricious, an Abuse of
               Discretion or Not in Accordance with Law (PSLF Program)

                             (Against the Department and Secretary DeVos)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This count is brought on behalf of the PSLF Plaintiffs and members of the PSLF

Class against the Department of Education.

                  The Administrative Procedures Act (“APA”) provides that “the reviewing court

shall … hold unlawful and set aside agency action, findings, and conclusions found to be …

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. §

706(2).

                  The Department acted arbitrarily and capriciously, abused its discretion, and/or

failed to comply with the requirements of applicable statutes and regulations with respect to each

of the following actions:




{2825 / CMP / 00161562.DOCX v1}543166.3            74
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 75 of 107



                  a.        Denying loan forgiveness for borrowers who met the requirements of the

PSLF Program, in violation of 20 U.S.C.A. § 1087e(m);

                  b.        Denying loan forgiveness for borrowers who met the requirements of the

TEPSLF Program;

                  c.        Denying PSLF Plaintiffs and members of the PSLF Class credit for all

qualifying payments made towards PSLF forgiveness;

                  d.        Failing to effectively communicate the requirements of the PSLF Program

to PSLF Plaintiffs and members of the PSLF Class, as required by Principle 15 of the Federal

Internal Control Standards;

                  e.        Failing to notify PSLF Plaintiffs’ and member of the PSLF Class who

submitted PSLF Employment Certification forms or otherwise expressed interest in enrolling in

the PSLF Program that they were not on a PSLF qualifying repayment plan, in violation of

Principle 15 of the Federal Internal Control Standards;

                  f.        Failing to maintain the National Student Loan Data System in a way that

(i) allows for the electronic exchange of data, including payments that qualify for PSLF

forgiveness, between loan servicers, and (ii) maintains confidence in the data system, as required

by 20 U.S.C.A. § 1092b;

                  g.        Failing to maintain records with accuracy, relevance, timeliness, and

completeness reasonably necessary to assure fairness to decision making as required by the

Freedom of Information Act, 5 U.S.C. §552(e)(5);

                  h.        Failing to issue instructions and guidance to PHEAA and other loan

servicers in the form of a Common Manual for the Direct Loan Program, as instructed by

Congress in the Consolidated Appropriations Act of 2016 (P.L. 114-113);




{2825 / CMP / 00161562.DOCX v1}543166.3              75
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 76 of 107



                  i.        Failing to sufficiently communicate instructions and guidance to PHEAA

and other loan servicers, as required by Principle 15 of the Federal Internal Control Standards;

                  j.        Failing to monitor PHEAA and other loan servicers for servicer

misconduct, as required by Principle 16 of the Federal Internal Control Standards;

                  k.        Failing to correct deficiencies identified in internal and external audits and

investigations, as required by Principle 17 of the Federal Internal Control Standards; and

                  l.        Failing to enforce accountability for PHEAA and other loan servicers’

failure to comply with all applicable laws, regulations, and FSA requirements, as required by

Principle 5 of the Federal Internal Control Standards.

                  The Department’s actions collectively, constitute a long-standing pattern of

failing to administer the PSLF Program in a manner that furthers the important policy and goals

of the HEA and PSLF Program further constitutes actions that are arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.

                  The Department’s actions constitute final agency action.

                  No further exhaustion is necessary, and in any event, attempts at further

exhaustion would be futile.

                  Accordingly, the Department’s actions should be set aside. PSLF Plaintiffs

request an order requiring the Department to (i) conduct a full accounting review of the

qualifying payments made by PSLF Plaintiffs and members of the PSLF Class and provide

explanation for any payment that is deemed a non-qualifying payment; (ii) provide additional

credit for all payments made after Plaintiffs and members of the PSLF Class submitted PSLF

Employment Certification Requests or otherwise expressed a documented interest in the PSLF

Program, regardless of repayment plan; (iii) grant loan forgiveness for any PSLF Plaintiff or




{2825 / CMP / 00161562.DOCX v1}543166.3               76
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 77 of 107



member of the PSLF Class who have made 120 qualifying payments and such additional

payments; (iv) provide a credit or refund for any payment of principal and interest made after the

date of the last qualifying or additional payment.

                        COUNT IV - FIFTH AMENDMENT DUE PROCESS

                             (Against the Department and Secretary DeVos)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This Count is brought on behalf of the TEACH Plaintiffs and members of

nationwide TEACH Class against the Department.

                  The Fifth Amendment of the U.S. Constitution provides: “No person shall…be

deprived of life, liberty, or property, without due process of law.” Due process requires that, at a

minimum, individuals receive notice and an opportunity to be heard before they are deprived of

property.

                  The TEACH Plaintiffs and members of the TEACH Class who have completed

four years of the required teaching service have a constitutionally protected property interest in a

government benefit to which they are legitimately entitled, namely their statutory interest in the

TEACH Grant.

                  The TEACH Plaintiffs and members of the TEACH Class were deprived of their

property interest when the Department improperly converted their TEACH Grants to interest

bearing TEACH Loans due to the Department’s own misconduct. The Department denied the

TEACH Plaintiffs and members of the TEACH Class their right to the TEACH Grants without

adequate process.




{2825 / CMP / 00161562.DOCX v1}543166.3            77
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 78 of 107



                  The Department failed to institute an adequate process to identify and account for

errors the Department and loan servicers made in converting the TEACH Plaintiffs and members

of the TEACH Class grants into interest bearing TEACH Loans.

                  The Due Process Clause Requires the Department to implement a process that

gives borrowers adequate notice of conversions, etc. and a meaningful process to identify and

account for issues related to this statutory entitlement including payment counting issues.

                         COUNT V - FIFTH AMENDMENT DUE PROCESS

                             (Against the Department and Secretary DeVos)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This Count is brought on behalf of the PSLF Plaintiffs and members of

nationwide PSLF Class against the Department.

                  The Fifth Amendment of the U.S. Constitution provides: “No person shall…be

deprived of life, liberty, or property, without due process of law.” Due process requires that, at a

minimum, individuals receive notice and an opportunity to be heard before they are deprived of

property.

                  The PSLF Plaintiffs and members of the PSLF Class who have made 120

qualifying payments while working full time for a qualifying employer have a constitutionally

protected property interest in a government benefit to which they are legitimately entitled,

namely loan forgiveness under the PSLF Program.

                  The PSLF Plaintiffs and members of the PSLF Class were deprived of their

property interest when the Department denied their PSLF applications. The Department denied




{2825 / CMP / 00161562.DOCX v1}543166.3            78
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 79 of 107



the PSLF Plaintiffs and members of the PSLF Class their right to loan forgiveness under the

PSLF Program.

                  The Department failed to institute an adequate process to identify and account for

errors the Department and loan servicers made in denying PSLF applications.

                  The Due Process Clause Requires the Department to implement a process that

gives borrowers adequate notice of conversions, etc. and a meaningful process to identify and

account for issues related to this statutory entitlement.

       COUNT VI - BREACH OF CONTRACT (TEACH AGREEMENT TO SERVE)

                             (Against the Department and Secretary DeVos)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This count is brought on behalf of the TEACH Plaintiffs and members of a

nationwide TEACH Class.

                  At all relevant times, TEACH Plaintiffs and members of the TEACH Class had a

valid and enforceable contract with the Department in the form of the TEACH Agreement to

Serve.

                  TEACH Plaintiffs and members of the TEACH Class have performed or

substantially performed all material terms of their obligations under the contract.

                  Despite TEACH Plaintiffs and members of the TEACH Class substantial

compliance with the Agreement to Serve, the Department breached its contractual obligations by

improperly converting the grants to interest-bearing loans.




{2825 / CMP / 00161562.DOCX v1}543166.3            79
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 80 of 107



                  As a proximate consequence of the Department’s breach, the TEACH Plaintiffs

and members of the TEACH Class suffered injury due to the improper conversion of the TEACH

Grant to a TEACH Loan.

        COUNT VII - BREACH OF CONTRACT (MASTER PROMISSORY NOTE)

                                  (Against the Department and Secretary DeVos)

                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This count is brought on behalf of the IDR Plaintiffs and members of Nationwide

IDR Class.

                  At all relevant times, IDR Plaintiffs and members of the IDR Class had a valid

and enforceable contract with the Department in the form of an FFEL or Direct Loan Master

Promissory Note (“MPNs’).

                  IDR Plaintiffs and members of the IDR Class have performed or substantially

performed all material terms of their obligations under the MPNs.

                  The MPNs between the Department and IDR Plaintiffs and members of the IDR

Class require the Department to comply with all applicable federal law.

                  The MPNs further require that any required notice to be given “will be effective if

it is sent by first-class mail to the most recent address that [the Department has] for [Plaintiff], by

electronic means to an email address [Plaintiff has] provided, or by any other method of

notification that is permitted or required by applicable law and regulations.”

                  Despite IDR Plaintiffs and members of the IDR Class substantial compliance with

the MPNs, the Department failed to follow applicable federal statutes and regulations as alleged

herein. It further failed to effect notice of the required notices under 34 C.F.R. §

685.209(a)(5)(ii)-(v) (PAYE), § 685.209(b)(v) and (vi)(B); § 685.209(c)(4)(ii) and (iii)


{2825 / CMP / 00161562.DOCX v1}543166.3            80
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 81 of 107



(REPAYE), and 34 C.F.R. § 685.221(e)(2)-(5) by sending the required notices only to an online

“paperless inbox.”

                  As a proximate consequence of the Department’s breach, IDR Plaintiffs and

members of the IDR Class have suffered various injuries including (a) exhaustion of their

eligibility for forbearance in the future, when they may actually need it, (b) denial of the benefits

of an IDR Plan, (c) denial of the opportunity to make qualifying payments toward forgiveness

under the PSLF Program and IDR Plans, (d) denial of federal interest subsidies that the

Department must contribute on their behalf during repayment; (e) capitalization of accrued

interest, which increases the principal loan balance and monthly payment amount, (f) loss of

credit for qualifying payments towards forgiveness under the PSLF Program, and (g) denial of

forgiveness under the PSLF Program.

       COUNT VIII – BREACH OF CONTRACT (THIRD-PARTY BENEFICIARY)

                                           (Against PHEAA)

                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  The Department and PHEAA entered into a contract on or about June 17, 2009

(Contract No. ED-FSA-09-D-0014), pursuant to which PHEAA agreed to provide servicing for

certain Federal Student Loans, including the student loans of Plaintiffs and members of all Class,

and have since amended and expanded the scope of work of such contract on numerous

occasions (hereinafter, collectively, the “Servicing Contract”).

                  The specific work to be performed by PHEAA pursuant to the Servicing Contract

includes, inter alia, the servicing of the Public Service Loan Forgiveness program,




{2825 / CMP / 00161562.DOCX v1}543166.3            81
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 82 of 107



implementation of the various Income Driven Repayment options (including ultimate loan

forgiveness under such options), and the TEACH Grant program.

                  PHEAA’s obligation under the Servicing Contract is to “be responsible for

maintaining a full understanding of all federal and state laws and regulations and FSA

requirements and ensuring that all aspects of the service continue to remain in compliance as

changes occur.”

                  The Servicing Contract further requires PHEAA to “provide commercially

available services that will yield . . . high levels of customer satisfaction[,]” and to utilize

“efficient and effective commercial contract services to manage all types of Title IV student aid

obligations, including, but not limited to, servicing and consolidation of outstanding debt.”

                  The Servicing Contract sets forth detailed requirements for PHEAA’s

performance of its loan servicing work, including, but not limited to, the following:

                  •         “The servicer shall post payments to the borrower accounts on the same
                            date of receipt of payment information from the treasury.”


                  •         “The servicer shall maintain proper controls over payment posting and
                            accounting activities, and perform daily and monthly required
                            reconciliations.”

                  •         “The servicer shall promptly manage credit balance accounts, and other
                            payments and accounts requiring a refund. The servicer shall process
                            refund transactions to borrowers (borrower overpayments) . . . .”

                  •         “The servicer shall establish a system and processes to correctly record all
                            transactions on their database.”

                  •         “The servicer’s procedures and systems shall include a system of internal
                            controls that ensures resource use is consistent with laws, regulations and
                            policies.”

                  •         “The servicer shall process discharge transactions with required
                            supporting documentation following the required regulatory guidelines.
                            The servicer is required to facilitate the timely and accurate processing of


{2825 / CMP / 00161562.DOCX v1}543166.3              82
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 83 of 107



                            discharge requests by ensuring that complete loan discharge
                            documentation for the individual is submitted.”

                  •         “The servicer shall respond to written and email questions and requests
                            timely and accurately.”

                  •         “The servicer shall respond and resolve customer complaints; and create
                            and execute a plan to escalate complaints to FSA and the Ombudsman.”

                  The Servicing Contract expressly imposes various responsibilities on PHEAA to

the borrowers. For example, with regard to PHEAA’s servicing of the PSLF program, the

Servicing Contract states: “The purpose of this effort is to implement a PSLF servicer to enable

borrowers to track qualifying payments and employment, using the Employment Certification

Form, while in the process of qualifying for PSLF.”

                  Further, the Servicing Contract requires PHEA to be able to:

                  •         “Collect, review and retain the submitted employment certifications;

                  •         Receive all eligible loans and provide comprehensive servicing of all

                            federally held loans to borrowers who may or may not ultimately be

                            eligible for forgiveness based on public service;

                  •         Determine that the borrower has made qualifying payments while

                            employed in qualifying public service;

                  •         Track PSLF eligibility status for the on-track borrower;

                  •         Report tracking information to NSLDS.”

                  With regard to IDR plans, the Servicing Contract sets forth numerous detailed

performance requirements for PHEAA for the benefit of the borrower, including, inter alia, that

PHEAA “shall process the loan forgiveness after the borrower has satisfied 25 years of

repayment on income-based repayment.”




{2825 / CMP / 00161562.DOCX v1}543166.3              83
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 84 of 107



                  With regard to TEACH Grants, PHEAA’s promise in the Servicing Contract is to

“to accept, process, and service TEACH Grants, in accordance with Attachment 8 - TEACH

Grant Requirements.”

                  The TEACH Grant Requirements in the Servicing Contract again obligate

PHEAA to undertake specific responsibilities to borrowers, including, but not limited to:

                  •         “Servicer will manage the TEACH Grant Certification Process for a

                            recipient that has not started teaching.”

                  •         “Servicer will service TEACH Grant while Recipients are Completing

                            their service obligation once employed as a teacher.”

                  •         “Servicer will evaluate a TEACH Grant Recipient’s ability to satisfy

                            his/her TEACH Grant service obligations.”

                  Plaintiffs and members of all Classes are the intended third-party beneficiaries of

the Servicing Contract.

                  The Servicing Contract reflects the express and/or implied intention by PHEAA

and the Department to benefit the borrowers, i.e., the Plaintiffs and members of all Classes.

Specifically, by delineating the precise responsibilities undertaken by PHEAA to the borrowers,

PHEAA and the Department demonstrate a clear intent to rebut any presumption that Plaintiff

and members of all Classes are merely incidental beneficiaries of the Servicing Contract, and

further demonstrate that Plaintiff and members of all Classes are the intended beneficiaries of the

Servicing Contract.

                  The text and purpose of the Servicing Contract, and an examination of the

Servicing Contract as a whole, evinces the intent of PHEAA and the Department to benefit the

Plaintiffs and members of all Classes.




{2825 / CMP / 00161562.DOCX v1}543166.3               84
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 85 of 107



                  Further evincing the intent to benefit the borrowers are the circumstances of the

transaction between PHEAA and the Department, which, because the Servicing Contract is

mandated by a federal statute, includes the governing statute and its purpose. To this end, 20

U.S.C.A. § 1087f provides “the Secretary [of Education] shall enter into contracts only with

entities that have extensive and relevant experience and demonstrated effectiveness.”

                  The Department specifically contracted with PHEAA for the purpose of servicing

the federal student loans of Plaintiffs and members of all Classes. Indeed, the MPN, the contract

between borrowers and the Department, indicates that a contractor, like PHEAA, may service the

loans and directs borrowers to such servicers for loan-related issues. After the loan repayment

period has begun, the Department directs borrowers to contact their loan servicers for

information about repayment issues. For example, since at least 2015, if not earlier, the

Department has issued the following instruction to borrowers after submitting an IDR Request

Form: “If you have questions regarding the next steps in the processing of your application, or

wish to cancel the application, contact your servicer(s).”

                  In addition to the specific obligations imposed on PHEAA for the benefit of the

borrowers, the Servicing Contract required compliance with all applicable federal law.

                  As set forth in detail herein, PHEAA breached the Servicing Contract by failing to

properly service borrowers’ federal student loans, including Plaintiffs and members of all

Classes, as required by the terms of the Servicing Contract and applicable federal law.

                  Alternatively, even if it is determined that PHEAA did not breach its express

obligations under the Servicing Contract, PHEAA breached the covenant of good faith and fair

dealing implied in the Servicing Contract.




{2825 / CMP / 00161562.DOCX v1}543166.3            85
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 86 of 107



                  PHEAA’s breach of the Servicing Agreement directly harmed Plaintiffs and

members of all Classes, as detailed herein.

                  As a result of PHEAA’s breach of the Servicing Contract, of which Plaintiffs and

members of all Classes were intended third party beneficiaries, Plaintiffs and members of all

Classes are entitled to, among other things, compensatory damages and all other relief deemed

just and equitable by the Court, as set forth below.

                            COUNT IX – BREACH OF FIDUCIARY DUTY

                                           (Against PHEAA)


                  Plaintiffs incorporate by reference the allegations contained in the proceeding

paragraphs as if fully set forth herein.

                  This count is brought on behalf of all Plaintiffs and members of all Classes.

                  The Department, as the owner and guarantor of Plaintiffs’ federal student loans,

has a confidential and/or fiduciary relationship with Plaintiff and the Class members.

                  PHEAA, by virtue of its loan servicing contract, the policies and goals of the

HEA and Title IV Programs, has a confidential and/or fiduciary relationship with Plaintiffs and

class members.

                  PHEAA further holds itself out as a fiduciary

                  In accordance with the 2009 Contract, the Department represents to Plaintiffs, the

class members, the public, and Congress that it acts in the best interest of borrowers, including

providing them advice, information, and other tools to assist them in choose the “right” or “best”

repayment plan based on their circumstances.

                  As such, the Department and PHEAA act in a position of advisor or counselor and

represents that it will act in good faith and in the interests of Plaintiffs and class members.



{2825 / CMP / 00161562.DOCX v1}543166.3            86
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 87 of 107



                  Furthermore, the relative positions of the Department, PHEAA, and borrowers,

including Plaintiffs and class members, is such that the Department and PHEAA have the power

and means to take advantage of, or exercise undue influence over, borrowers, including Plaintiffs

and class members.

                  The Department and PHEAA exploited its relationship with Plaintiffs and class

members by making representations and engaging in misconduct that violated this confidential or

fiduciary relationship. As such, the Department and PHEAA are operating in a manner most

beneficial to themselves rather than the borrowers, including Plaintiffs and class members.

                  The Department and PHEAA’s breach of its confidential or fiduciary relationship

was the direct and proximate cause of the injuries suffered by Plaintiff and the Class members, as

detailed herein.

                                  COUNT X - CONSTRUCTIVE FRAUD

                                          (Against PHEAA)

                  Plaintiffs incorporate by reference all preceding allegations.

                  This count is brought on behalf of all Plaintiffs and members of a nationwide

Classes against PHEAA.

                  PHEAA holds itself out as having a confidential and/or fiduciary relationship with

Plaintiffs and the Classes.

                  PHEAA represents to Plaintiffs and Class members that it is acting in their best

interests.

                  As such, Defendant acts in a position of advisor or counselor as reasonably to

inspire confidence in student loan borrowers that they will act in good faith for the student loan

borrower’s interest.




{2825 / CMP / 00161562.DOCX v1}543166.3            87
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 88 of 107



                  Further, the relative position of PHEAA and student loan borrowers, including

Plaintiffs and members of the Classes, is such that PHEAA has the power and means to take

advantage of or exercise undue influence over the student loan borrowers, and in fact has

exercised power and undue influence over student loan borrowers.

                  Some of Defendant’s fraudulent conduct, misrepresentations and/or omissions

include, but are not limited to:

                  b) causing and/or creating issues with student loan borrowers’
                  repayment, resulting in student loan borrowers having to be placed
                  on forbearance or deferment;

                  c) enrolling student loan borrower’s in a different repayment plan
                  than he or she is currently in, against his or her will and without
                  permission,

                  d) refusing to return improperly switched borrowers to their
                  previous plan without any cost or delay to the student loan borrower,

                  e) intentionally causing student loan borrower’s information
                  processing to last more than one month;

                  f) intentionally delaying student loan borrower’s payments on
                  income-driven repayment plans

                  g) charging extra fees the student loan borrower would not have to
                  pay if the student loan borrower did not switch payment plans,

                  h) charging extra standard, full payments the student loan borrower
                  would not have to pay if the student loan borrower was not switched
                  payment plans,

                  i) charging extra capitalized interest Defendant would not be entitled
                  to if the student loan borrower was not switched to a different
                  payment plan,

                  j) collecting monthly servicing fees/payments as student loan
                  borrowers would have more months prior to his or her loan being
                  forgiven or paid off.

                  As such, PHEAA is operating in a way most beneficial to itself and, often, in a

manner directly opposite of that requested by the student loan borrower, such as Plaintiffs and



{2825 / CMP / 00161562.DOCX v1}543166.3            88
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 89 of 107



members of the Classes, despite holding themselves out as acting in the best interest of the

student loan borrower.

                  PHEAA’s fraudulent actions and fraudulent misrepresentations were directed

toward Plaintiffs and members of the Classes.

                  PHEAA intended for student loan borrowers, including Plaintiffs, to rely on its

actions and fraudulent misrepresentations in determining which IDR Plan was best for the

student loan borrowers, in being placed in the correct and best IDR Plan for the student loan

borrowers, and in having their IDR Plan Request Forms processed and carried out in an effective

and efficient manner.

                  Defendant also intended for student loan borrowers, including Plaintiffs and

members of the Classes, to rely on their documents, correspondence, loan billing statements,

emails and website as correct, even though the website contained vague, inaccurate, and

misleading information and other documents were often incorrect.

                  As such, PHEAA intended for student loan borrowers to rely on its actions and

fraudulent misrepresentations and, therefore, create, or cause a likelihood of, confusion or of

misunderstanding about the best IDR Plan for the student loan borrowers, how they could be

treated after requesting to return to their previous plan, and how their IDR Plans were to be

processed and carried out.

                  PHEAA’s actions and misrepresentations occurred during the presentation of

information involving its loan servicing activities.

                  Plaintiffs and members of the Classes relied on PHEAA’s confidential or

fiduciary relationship and incurred damages due to (1) the misleading, vague, and inaccurate

information displayed by PHEAA about IDR Plans, (2) being coerced or forced into forbearance




{2825 / CMP / 00161562.DOCX v1}543166.3           89
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 90 of 107



due to PHEAA’s actions, (3) being unable to return to their previously chosen IDR Plan without

ramifications, and (4) PHEAA’s document and information processing procedures that last more

than one month.

                  Plaintiffs and members of the Classes damages were directly and proximately

caused by Defendant’s breach of a confidential or fiduciary relationship.

                  As such, Plaintiff and all others similarly situated have been damaged as a direct

and proximate result of Defendant’s willful, intentional, and outrageous conduct, warranting

punitive damages for Defendant’s irreprehensible behavior and injunctive.

                  258. Defendant’s conduct was outrageous and done with a bad motive or with

reckless indifference to the interests of others. Punitive damages are thus warranted, in order to

deter Defendant and others from engaging in similar conduct in the future, as well as to provide

additional compensation, retribution and an incentive to prevent injustices that might otherwise

go unredressed.

                                  COUNT XI - UNJUST ENRICHMENT

                                           (Against PHEAA)

                  Plaintiffs incorporate by reference all preceding allegations.

                  This count is brought against PHEAA on behalf of members of the Nationwide

Class.

                  To the extent required, this claim is pleaded in the alternative to the other claims

in this Complaint.

                  PHEAA has unlawfully benefited from the misconduct alleged in this Complaint.

                  PHEAA unlawfully received millions of dollars in loan servicing fees by

collecting for the Department millions of dollars in overpayments of additional principal and

interest that were not otherwise owed but for PHEAA’s unlawful actions.


{2825 / CMP / 00161562.DOCX v1}543166.3            90
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 91 of 107



                  PHEAA’s financial benefits resulting from the unlawful and inequitable acts are

traceable to the overpayments made by Plaintiffs and the Classes.

                  Plaintiffs and the Classes have conferred upon PHEAA an economic benefit in the

nature of loan servicing profits that resulted from the unlawful collection of overpayments, to the

economic detriment of Plaintiffs and the Classes.

                  The economic benefit of loan servicing fees derived by PHEAA through

collecting overpayments of principal and interest is a direct and proximate result of PHEAA’s

unlawful conduct.

                  The economic benefits derived by PHEAA rightfully belong to Plaintiffs and the

Classes, as they made overpayments of principal and interest, benefiting PHEAA.

                  It would be inequitable under unjust enrichment principles under the law of

Pennsylvania to be permitted to retain any of the loan servicing fees derived from Plaintiffs’ and

the Classes overpayments of principal and interest as a result of PHEAA’s unfair and

unconscionable methods, acts, and trade practices alleged in this Complaint.

                  PHEAA is aware of and appreciate the benefits bestowed upon it by Plaintiffs and

the Classes.

                  PHEAA should be compelled to disgorge in a common fund for the benefit of

Plaintiffs and the Classes all unlawful or inequitable proceeds they received.

                  A constructive trust should be imposed upon all unlawful or inequitable sums

received by PHEAA traceable to Plaintiffs’ and the Classes.




{2825 / CMP / 00161562.DOCX v1}543166.3           91
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 92 of 107



                                          COUNT XII – NEGLIGENCE

                                              (Against PHEAA)

                  Plaintiffs incorporate the allegations contained in the previous paragraphs by

reference.

                  PHEAA owed—and continues to owe—duties to Plaintiffs and the Class to use

reasonable care in:

              a. Providing accurate information to borrowers regarding the terms and status of

                  their loans;

              b. Providing accurate and timely information to borrowers regarding their options

                  and obligations with respect to repayment, grant certification, forgiveness,

                  discharge, cancellation, default, and forbearance;

              c. Assisting borrowers with choosing an appropriate repayment plan, program, or

                  strategy;

              d. Processing documents, inquiries, certifications, and applications from borrowers

                  in a timely fashion to ensure borrowers remain eligible for the programs they

                  qualify for;

              e. Collecting payments from borrowers and applying payments to loan balances; and

              f. Updating borrowers’ files and loan status information based on the information

                  and payments received.

                  These duties arise from several sources, including, but not limited to, the sources

described below, and are independent of any duty PHEAA owed as a result of contracts between

it and Plaintiffs and the class members.




{2825 / CMP / 00161562.DOCX v1}543166.3             92
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 93 of 107



                  PHEAA has a common law duty to prevent the foreseeable risk of harm to others,

including Plaintiffs and the Class. Plaintiffs have student loans held by the Department of

Education. With respect to the loans at issue in this case, borrowers such as Plaintiffs and Class

Members have no ability to choose their loan servicer. The Department’s choice to award

PHEAA the servicing contract for these loans made PHEAA the exclusive entity borrowers

could interact with to obtain information about their specific loans or conduct any repayment-

related actions. As a result of PHEAA’s position as the exclusive servicer for these loans, it was

foreseeable to PHEAA that Plaintiffs and the Class could suffer financial harm if PHEAA failed

to exercise reasonable care while performing its servicing functions.

                  It was foreseeable to PHEAA that borrowers would be injured if PHEAA failed to

properly administer the TEACH Grants Program by improperly converting TEACH Grants to

loans, failing to timely notify borrowers of their recertification requirements, or failing to process

recertification information submitted by borrowers. PHEAA knew that the conversion of

TEACH Grants into direct loans would cause the grant recipients to incur a significant increase

in their debt and interest repayment obligations.

                  It was also foreseeable to PHEAA that injury would result from a failure to use

reasonable care in servicing the IDR and PSLF programs. As explained above, participation in

these programs depends on whether borrowers qualify, whether they submit timely

recertification documents, and whether the correct number of qualifying payments are made. To

this end, it was foreseeable that if PHEAA did not administer and service these programs with

reasonable care, PHEAA’s servicing failures would exhaust borrowers’ future forbearance

eligibility, block the Department of Education from paying Federal Interest Subsidies borrowers

are entitled, deny borrowers the opportunity to participate in alternative payment plans, erase




{2825 / CMP / 00161562.DOCX v1}543166.3           93
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 94 of 107



reduced interest rates available to borrowers in repayment, delay borrowers’ opportunity to seek

loan forgiveness, add to borrowers’ principal loan balance, and increase their monthly loan

payments.

                  It was also foreseeable to PHEAA that if it failed to use reasonable care in

advising borrowers when and whether forbearance was an appropriate choice for them, and

providing borrowers with pertinent information about the consequences of forbearance, then

borrowers could be financially injured if their loans were put into forbearance at an inappropriate

time and accrued interest was capitalized.

                  In addition to its general duty to exercise reasonable care, PHEAA also had a duty

of care as a result of the special relationship that existed between PHEAA on one hand and

Plaintiffs and the class members on the other. The special relationship arose because the

Department of Education entrusted PHEAA to utilize “efficient and effective commercial

contract services to manage all types of Title IV student aid obligations, including, but not

limited to, servicing and consolidation of outstanding debt.” Only PHEAA was in a position to

ensure that its servicing systems were sufficient to protect against the harm to Plaintiffs and the

class members from PHEAA’s insufficient servicing measures.

                  PHEAA assumed a duty to use reasonable care in servicing loans for the millions

of borrowers in its portfolio. Even beyond PHEAA’s assumption of these duties through its

contract with the Department, PHEAA’s statements to borrowers indicate that PHEAA intended

for borrowers to rely on PHEAA as a primary source for information and assistance when

deciding what actions to take with respect to their student loans. For instance, PHEAA refers to

its call center representatives as “Loan Counselors,” and its websites are replete with

representations and instructions PHEAA clearly intended borrowers to rely on when making




{2825 / CMP / 00161562.DOCX v1}543166.3            94
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 95 of 107



decisions about repaying their loans. For virtually every potential repayment or forgiveness

option, PHEAA’s website directs borrowers to contact PHEAA in order to initiate, continue, or

discuss the option with one of PHEAA’s representatives. PHEAA knew that if it failed to

provide accurate information or use reasonable care in servicing loans, borrowers could be

confused, misled, or incorrectly processed, leading to significant financial consequences for the

borrowers.

                  PHEAA was also under statutory and regulatory duties to use reasonable care in

servicing loans. For instance, under 34 C.F.R. § 682.211 and as a result of PHEAA’s contracts

with the Department, PHEAA owed a duty to borrowers like Plaintiffs and the Class to provide

them with information that would aid them in understanding the impact of capitalization of

interest on the loan principal, including information regarding the total interest to be paid over

the life of the loan if the loan was placed into forbearance.

                  Under the Consumer Financial Protection Act of 2010, PHEAA was under a duty

to refrain from engaging in in any “unfair, deceptive or abusive act or practice” when servicing

student loans. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                  Finally, PHEAA’s duty to use reasonable care in servicing student loans arose not

only as a result of the common law and the statutes described herein, but also because it was

bound by, and had committed to comply with, industry standards, as represented by the

Department of Education to borrowers, as well as in the Department’s contract for services with

PHEAA.

                  PHEAA breached its duties and thus was negligent by failing to use reasonable

care in servicing Plaintiffs’ and the class members’ loans correctly and on time. Upon




{2825 / CMP / 00161562.DOCX v1}543166.3           95
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 96 of 107



information and belief, the specific negligent acts and omissions committed by PHEAA include,

but are not limited to, some, or all, of the following:

              g. Failing to provide accurate information to borrowers regarding the terms and

                  status of their loans, including the requirements and deadlines for maintaining

                  status in various repayment and forgiveness programs;

              h. Failing to timely notify borrowers of upcoming deadlines to comply with TEACH

                  Grant requirements, failing to properly record and process recertifications

                  submitted by TEACH Grant recipients, and improperly converting TEACH

                  Grants into loan and interest balances;

              i. Placing borrowers’ accounts into forbearance to accommodate its own servicing

                  failures, or as a result of breaching its duty to assist borrowers, and failing to

                  timely and fully inform borrowers of the financial consequences and interest

                  capitalization that will result from forbearance;

              j. Denying borrowers the opportunity to make Qualifying Payments for PSLF and

                  IDR forgiveness when it fails to timely and properly process IDR Request Forms,

                  or fails to notify borrowers of recertification requirements, thereby extending the

                  life of borrowers’ loans;

              k. Failing to properly count borrowers’ PSLF and IDR Qualifying Payments;

              l. Exhausting borrowers’ eligibility to request forbearance in the future, when they

                  may actually need it;

              m. Denying borrowers Federal Interest Subsidies the Department of Education must

                  make on their behalf;




{2825 / CMP / 00161562.DOCX v1}543166.3             96
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 97 of 107



              n. Triggering the capitalization of borrowers’ interest, thereby increasing borrowers’

                  outstanding principal and monthly payment amounts;

              o. Failing to educate borrowers about the consequences of switching repayment

                  plans, including but not limited to borrowers having to choose between

                  forbearance and the fixed, 10-year Standard Repayment Plan upon a change; and

              p. Collecting amounts not legitimately due and owing and failing to refund them to

                  borrowers.

                  In connection with the conduct described above, PHEAA acted wantonly,

recklessly, and with complete disregard for the consequences.

                  As a direct and proximate result of PHEAA’s negligent conduct, Plaintiff and the

Class have suffered substantial losses as detailed herein.

                      COUNT XIII - NEGLIGENT MISREPRESENTATION

                                          (Against PHEAA)

                  Plaintiffs incorporate the allegations contained in the previous paragraphs by

    reference.

                  Because its primary function is loan servicing, PHEAA is in the business of

routinely supplying information that is intended to be relied upon by borrowers and is in fact

relied upon by borrowers. PHEAA earns income by fulfilling its loan servicing obligations under

its contract with the Department. Since PHEAA knew that borrowers needed to rely on PHEAA,

and as a result of PHEAA’s pecuniary interest in servicing borrowers’ loans, PHEAA was under

a duty to provide timely, accurate information to borrowers.

                  By virtue of the Department’s selection of PHEAA as the exclusive servicer of the

subject loans, and the obligations imposed by the HEA and implementing regulations, PHEAA

was under a public duty to provide accurate information to the borrowers about the terms and


{2825 / CMP / 00161562.DOCX v1}543166.3           97
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 98 of 107



status of their loans, their options for repayment, and the consequences of various courses of

action.

                  Borrowers like Plaintiffs and the Class reasonably relied on information provided

by PHEAA, and reasonably relied upon PHEAA to provide accurate information at timely

intervals. In fact, Plaintiffs and the Class had no other choice but to rely on communications

from PHEAA while managing their student loan repayment options.

                  PHEAA breached its duties to provide timely and accurate information to

borrowers in various ways. In the course of its business, PHEAA concealed and suppressed

material facts concerning the commercial student loan services it provided Plaintiffs and Class

Members. PHEAA accomplished this by representing, for example and without limitation, that it

“best serves [borrowers’] needs” when borrowers are “transparent about [their] concerns and

[their] situation.” PHEAA also represented, for example, that its “ability to address [borrowers’]

concerns will be based on – and in some cases limited by – ” three factors: (1) “applicable

federal and state laws and regulations,” (2) “the terms of [borrowers’] loan agreement or

promissory note,” and (3) “lender policies and guidelines.”

                  At no time did PHEAA notify Plaintiffs and Class Members that its ability to

“best serve” their needs would also be undermined by its own insufficient, unfair, and/or

fraudulent practices and procedures, including for example and without limitation, PHEAA: (a)

failing to enroll qualifying borrowers that submitted applications for the PSLF, TEACH, and

IDR programs; (b) failing to process borrower applications for IDR plans, including REPAYE,

within the necessary 15-day period; (c) failing to inform borrowers that PHEAA would only

communicate through a “paperless inbox” and then deleting messages and/or account borrower

account history; (d) placing borrowers into deferment or forbearance who did not apply for or




{2825 / CMP / 00161562.DOCX v1}543166.3           98
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 99 of 107



did not meet the criteria for that reason; (e) steering borrowers into forbearance when IDR

programs were available; (f) failing to fully explain and/or provide borrowers with information

to understand the consequences of entering forbearance, including the impact of capitalization of

interest; (g) failing to properly calculate borrowers’ monthly payments under ALRPs at a level

consistent with their income and family size; and (h) failing to process borrowers’ recertification

forms under the PSLF and TEACH programs, resulting in lost qualifying PSLF payments and

TEACH grants being incorrectly converted into loans, respectively.

   COUNT XIV - VIOLATION OF PENNSYLVANIA’S UNFAIR TRADE PRACTICES
      AND CONSUMER PROTECTION LAW, 73 Pa. Stat. Ann. § 201-1 et seq.)

                                           (Against PHEAA)

                  To the extent they are not inconsistent herewith, Plaintiffs incorporate each

preceding paragraph as if fully restated herein.

                  All Plaintiffs (for the purpose of this section, “Plaintiffs”) bring this action on

behalf of themselves, the Nationwide Class, and the Pennsylvania Class against PHEAA.

Plaintiffs’ injuries and those of the Nationwide Class and Pennsylvania Class arise from

PHEAA’s violation of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law (for

the purposes of this section, “UTPCPL”) as a commercial student loan servicer.

                  Plaintiffs, Nationwide Class members, Pennsylvania Class members, and PHEAA

are “persons” within the meaning of 73 P.S. § 201-2(2).

                  PHEAA is engaged in “trade” or “commerce” within the meaning of 73 P.S. §

201-2(3).

                  The Pennsylvania UTPCPL prohibits “unfair or deceptive acts or practices in the

conduct of any trade or commerce[.]” 73 P.S. § 201-3.




{2825 / CMP / 00161562.DOCX v1}543166.3             99
         Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 100 of 107



                  In the course of its business, PHEAA concealed and suppressed material facts

concerning the commercial student loan services it provided Plaintiffs and Pennsylvania Class

Members. PHEAA accomplished this by representing, for example and without limitation, that it

“best serves [borrowers’] needs” when borrowers are “transparent about [their] concerns and

[their] situation.” PHEAA also represented, for example, that its “ability to address [borrowers’]

concerns will be based on – and in some cases limited by – ” three factors: (1) “applicable

federal and state laws and regulations,” (2) “the terms of [borrowers’] loan agreement or

promissory note,” and (3) “lender policies and guidelines.” 106

                  At no time did PHEAA notify Plaintiffs and Pennsylvania Class members that its

ability to “best serve” their needs would also be undermined by its own insufficient, unfair,

and/or fraudulent practices and procedures, including for example and without limitation,

PHEAA: (a) failing to enroll qualifying borrowers that submitted applications for the PSLF,

TEACH, and IDR programs; (b) failing to process borrower applications for IDR plans,

including REPAYE, within the necessary 15-day period; (c) failing to inform borrowers that

PHEAA would only communicate through a “paperless inbox” and then deleting messages

and/or account borrower account history; (d) placing borrowers into deferment or forbearance

who did not apply for or did not meet the criteria for that reason; (e) steering borrowers into

forbearance when IDR programs were available; (f) failing to fully explain and/or provide

borrowers with information to understand the consequences of entering forbearance, including

the impact of capitalization of interest; (g) failing to properly calculate borrowers’ monthly

payments under IDRs at a level consistent with their income and family size; and (h) failing to

process borrowers’ recertification forms under the PSLF and TEACH programs, resulting in lost


106
   PHEAA: Office of Consumer Advocacy, available at https://www.pheaa.org/about/contact-us/office-consumer-
advocacy.shtml (last accessed Oct. 23, 2019).


{2825 / CMP / 00161562.DOCX v1}543166.3             100
          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 101 of 107



qualifying PSLF payments and TEACH grants being incorrectly converted into loans,

respectively.

                  PHEAA thus violated the Pennsylvania DTPA by, at minimum: employing

deception, deceptive acts or practices, fraud, misrepresentations, or concealment, suppression or

omission of any material fact with the intent that Plaintiffs and Pennsylvania Class members rely

upon such concealment, suppression or omission, in connection with the servicing of their

federal student loans. Plaintiffs did in fact rely on such deceptive acts or practices described

herein.

                  By failing to carry out its federal loan programs as advertised, PHEAA also

intentionally created a likelihood of confusion and misunderstanding that affected the public

generally, and Plaintiffs and the Pennsylvania Class members specifically, in violation of

Pennsylvania DTPA.

                  PHEAA knew the true nature of its student loan servicing but concealed that

information. As described herein, recent state and federal investigations have only recently

brought PHEAA’s deceptive acts and practices to light.

                  Based on the forgoing, PHEAA also violated the Pennsylvania Fair Credit

Extension Uniformity Act (“FCEUA”), see 73 Pa. Stat. Ann. § 2270.5(a), by engaging in false,

deceptive, and misleading representations and means, and unfair and unconscionable means in

connection with the collection of alleged debts. See 73 Pa. Stat. Ann. § 2270.4(b)(5) and (6).

                  PHEAA is a “creditor” and Plaintiff is a “consumer” under the FCEUA. See 73

Pa. Stat. Ann. § 2270.3. Plaintiff has suffered ascertainable loss as a result of PHEAA’s

violations of the FCEUA, which constitutes a violation of the UTPCPL




{2825 / CMP / 00161562.DOCX v1}543166.3          101
         Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 102 of 107



                  Plaintiffs and Pennsylvania Class members suffered ascertainable losses and

actual damages as a direct and proximate results of PHEAA’s misrepresentations and its

concealment of and failure to disclose material information, including for example, increased

payments, payment of deferment or forbearance fees, increased interest, and extended time until

Plaintiffs and Pennsylvania Class members qualified for loan forgiveness, causing Plaintiffs and

the Pennsylvania Class to incur additional payment obligations before the end of their loan

terms.

                  Additionally, Plaintiffs and many Pennsylvania Class members often times had no

meaningful choice and were required to submit to PHEAA’s practices because PHEAA was their

assigned loan servicer and the exclusive provider of the PLSF and TEACH programs. Thus,

Plaintiffs and Pennsylvania Class members were required to continuing having PHEAA service

their loans even when it engaged in fraudulent or deceptive misconduct.

                  PHEAA’s violations present a continuing risk to Plaintiffs, Pennsylvania Class

Members, and the general public at large. To this end, PHEAA’s unlawful acts and practices

complained of herein affect the public interest.

                  Plaintiffs and Pennsylvania Class members seek all monetary and non-monetary

relief allowed by law; punitive damages; injunctive relief; reasonable attorneys’ fees and costs;

and any other just and appropriate relief under the Pennsylvania DTPA.

                  Plaintiffs and the Pennsylvania Class seek to enjoin such unlawful, deceptive acts

and practices as described above. Each member of the Pennsylvania Class will be irreparably

harmed unless the unlawful actions of the PHEAA are enjoined, as PHEAA will continue to

distribute false and misleading information regarding borrowers’ loans, process borrowers’

payments incorrectly, and delay applications for PLSF, TEACH grant, and IDR programs.




{2825 / CMP / 00161562.DOCX v1}543166.3            102
         Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 103 of 107



Absent injunctive relief, PHEAA will continue to administer loans in a manner that harms

consumers and directly conflicts PHEAA’s representations as serving the best interests of

borrowers, as well as directly conflicts the intent of Congress and the Department’s guidelines,

as detailed more fully herein.

                                          PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs and members of the Classes pray that the Court:

         A.       Certify this action as a Class Action pursuant to Federal Rule of Civil Procedure

23, and appoint Plaintiffs as Class Representatives and Laura K. Mummert of Lowey

Dannenberg, P.C. and Gary F. Lynch of Carlson Lynch, LLP as Co-Lead Class Counsel;

         B.       Declare that the Department’s actions are arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law, in violation of the APA;

         C.       Setting aside the Department’s alleged actions;

         D.       Granting preliminary and permanent injunctive relief;

         E.       Issue an order declaring PHEAA’s conduct as alleged herein is unlawful;

         F.       Issue an order enjoining PHEAA from continuing the unlawful practices alleged

in this Complaint;

         G.       Enter judgment for the damages sustained by Plaintiffs and members of the

Classes defined herein, and for any additional damages, penalties and other monetary relief

provided by applicable law, including treble damages, statutory damages and/or punitive

damages;

         H.       Issue an order requiring PHEAA to institute a corrective review process to

remedy PHEAA’s wrongful conduct;




{2825 / CMP / 00161562.DOCX v1}543166.3           103
Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 104 of 107
' " ' '"" 0"'"                    ©tmJ .,v
                                Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 105 of 107
                                                                                 CIVIL COVER SHEET                                                         Jq-ey_5;;J.. l'ir
The JS 44 civil cover sheet and the mfonnatton-continbe~rem neither replace nor supplement the filmg and service of pleadmgs or other papers as reqmred by la'-". except a,,
provided by loeaJ rules oicourt~'fhfsform, approved by the Judfo1al Conference of the lJmted States m September 1974, 1s required.for the use of the Clerk of Court for the
purpose of IIllllatmg the civil docket sheet (SEE INSTRUCTTONS ON NEXT PAGE O THIS FORM J




      (b) County of Residence of First I 1sted Plamll                   Monroe County, ~y                             County of Residence off" rrst Listed Defenda
                                   (FXCEPTl'V l.: S PLAl"vTl F CASESJ                                                                                      (INC: S PLAI"vTTFF :4SES OM l?
                                                                                                                      r-,;on      IN LAND CONDEMNATION CASf
                                                                                                                                  THE TRACT Of LAND l1'VOL VI

  ( C) Attorneys t Fzrm Nam,CAddress and le(ephone !Vu er                                                              Attorneys (If Known)
Lowey Dannenberg, P . Laura K Mummert, sq                                                                           Drew H Campbell, Bricker & Eckl r LLP, (61
100 Front Street. West Conshohocken. PA 1942                                                                        Terrance A Mebane, DOJ. (202) 3 -0          ept of Ed. Sec. Devos)
(215) 399-4 770                                                                                                     John C. Grugan, Ballard Spahr, LLP. (215) 864 8226 (PHEAA)

II. BASIS OF JURISDICTION (Place an ·x· in One Box Only)                                               III. CITIZENSHIP Of' PRINCIPAL PARTIES (Place an                                             X · m One Box/or Plamt1ff
                                                                                                                  (For Dn,erstty Cases On/})                                                and One Box for Defendant)
'.1 I     1 S Government                 '.1 l    Federal Question                                                                             PTF           DEF                                           PTF      DEF
            Plamt1ff                                rr_; S Government Not a Party)                         C1t1zen of This State               :J I           '1    I   Incorporated or Pnnupal Place        '.1 4   cl 4
                                                                                                                                                                          of Busmess In Thts State

                                         '.1 4    D1vemty                                                  ( mzen of Another State             :::r    2      cl   2     Incorporated and Pnnopal Place                  cl 5       '.1 5
                                                   (lnd,c-ate Cm:ensh1p of Parties m Item Ill)                                                                              of Business In Another State

                                                                                                           Citizen or SubjeC t of a            '1 3           n     3    f oreign Nallon
                                                                                                             Forel n Count
                                                                                                                                                               Chck here for Nature of Smt Code Descn t10ns
                                                                                                                           :CORE/PENA                            ANKRUP'I'6/                TH
                                            PERSONAL INJLRY                   PERSONAi. INJl'RY            '.1 62 5 Drug Related SeIZUre               ::J 42 2 Appeal 28 U,C 158                        :J l 75 False Claims Act
                                        '.1 l IO Airplane                 '.1 365 Personal Injury -                of Property 21 LSC 881              7 423 Withdrawal                                  '.1 l/6 Qtu Tam {ll l'SC
cl 130 \lliller Act                  '1 3 I 5 Airplane Product                     Product Liab1hty        '.1 690 Other                                     28 t:SC 157                                          3729{a)J
'.1 140 Negotiable Instrument                 L1ab1hty                   n     367 Health Care,                                                                                                          '.1 400 State Reapportionment
cl 150 Recovery of Overpayment cl 120 Assault, I 1bd &                           Phanna"euhc.al                                                          .•;.P;:jR~OQ!P~E;;jR~T\\11:;§]R~r~G~[riifll!§;Q '.1 4 IO Anntrust
                                                                                                                                                      p1hli!!:
         & Ic.nforcement of Judgment          Slander                            Personal Injury                                                       '1 820 Copynghts                                  '.1 430 Banks and Bank.mg
'.1 I 51 Medicare Act                .:, JJO Federal Fmployers •                 Product Ltabthty                                                       '.1 830 Patent                                   '.1 450 Commerce
'.1 I 52 Recovery of Defaulted                L1ab1hty                   '.1 368 Asbestos Personal                                                                                                       '.1 460 Deportauon
            Student Loans               '1 340 Manne                              lnjuty Product                                                                                                         '.1 4 70 Racketeer Influenced and
            (Excludes Veterans)         cl 345 Manne Product                      Ltab1hty                                                                                                                Conupt Orgaruzatlons
cl    I 5 l Recovery of Overpayment               Liahltty                 PERSONAL PROPERTY                                     OR&!                                                            '1 480 Consumer Credit
            of Veteran's Benefits       :J 350 Motor Velucle             7 l 70 Other Fraud                '1 710 Fair Labor Standards                                                           7 48 5 Telephone Consumer
:J    160 Stockholders· Smts             '.1 355 Motor Vehicle           ::J 37I Truth m Lending                     Act                                                                                   Protection Act
'.1   190 Other Contract                         Product Liab1hty        cl 180 Other Personal             '.1 720 Labor'Management                                                              '.1 490 Cable/Sat TV
'.1   I 95 Contrac,t Product L1ab1hty   '.1 160 Other Personal                    Property Damage                    Relallons                                        cl 850 Secunt1es/Commod1t1est
::J   I 96 Franch1se                             Injury                   '1 l85 Property Damage           '1 740 Railway Labor Act                                            fxchange
                                        '.1 162 Personal Injury •                 Product L1ab1hty         '.1 75 I Fanuli, and \lled1cal                                 890 Other Statutory Actions
                                                 Medical \1al rac:nce                                                  Leave Act                                          89 I Agncultural Acts
               ffl>ROPERT                .. ACI\Q1'RIGHT                       RfSONER~ETITIONS            '.1   790 Other Labor I mgat10n  tiJi~~~~E~~~g~~;~~~~;;~· '.1 893 E.nv1romnental Matters
'.1 210 Land Condemnallon               ::J 440 Other C1v1l Rights             Habeas Corpu"               '.1   79 I Employee Rellrement                             '1 895 Freedom of Informat10n
cl 220 Foree losure                     '.1 441 Voting                   '1    46 l Aben Detamee                      Income Secunty Act             or Defendant)             Ad
'1 2 30 Rent Lease & Fiectment          '1 442 l mployment            .'1      5 IO Mot10ns to Vacate                                        cJ 8 71 IRS. Third Party     896 Arb1tra1IOn
'.1 240 Torts to Land                   '.1 443 Housmg-                             Sentence                                                         26 l'SC 7609         899 Admm1strat1ve Procedure
'.1 245 Tort Product L1ab1hty                    Accommoda1tons       '.1      5 30 General                                                                                    Act·Rev1ew or Appeal of
cl 290 Ali Other Real Property          '.1 44 5 Amer w•Disab1h11es • '.1      515 Death Penalty                                                                               Agency De<1swn
                                                 Employment                    Other:                      '.1   462 Naturahzauon Apphcauon                           '.1 950 Const1tu11onahty of
                                        cl 446 Amer w•D1sab1ht1es - ::J        540 Mandamus & Other        '.1   465 Other lmm1grat10n                                         State Statutes
                                                 Other                '1       5 50 C1v1: Rights                      Acnons
                                        '.1 448 Education             '.1      555 Pnson Condilton
                                                                         '.1   560 C1vtl Detamee .
                                                                                    Cond11Ions of
                                                                                    Confinement

V. ORIGlN (Placean               'X',nOneBoxOnly)
'.1 I Ongmal                '.1 2 Removed from                '.1 3      Remanded from                '.1 4 Remstated or         '.7 S Transferred from                  '.1 6 Mult1d1stnct                       8 Mult1d1stnct
      Proceedmg                   State Court                            Appellate Court                    Reopened                   Another D1stnct                            L1t1gat10n •                      I 1ttgat1on -
                                                                                                                                        (specz/J,)                                Traru.fer                        Drrect File
                                            Ctte the\_; S C1v1! Statute under 'Nhtch you are film$ (Do notcitefurisdictio'1J!l.E.atutes unless diversi
                                             Administrative Procedures Act, 5 U S C                         ~    706(2)(AJ
         CAUSE OF ACTIO                           ef descnptton of cause
                                                   lation of the APA, state consumer protection law. common law regarding deceptive stud                                                                  I
VII. REQL'ESTED IN                                  'HECK IF THIS IS A CLASS ACTION                              DEMAND $                                           CHLCK YES orily 1f d man
     COMPLAINT:                                      • fDER RULE 23, FR Cv P                                          ; 000                                         JL'RY DEMAND:         )(
VIII. RELATED CASE
      IF A.""iY                                                                                                                                                                                                     3 (ED Pa)
DATF
11/08/2019                                                                                                                                                                                                        - 8 2019
FOR OFFICE t:SE ONLY

      RE.CHPT#                      A,\l!OL:'IT                                   APPi Yll\CG Ir P                                    JL1JGE                                      MAG R'DGE
                          Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 106 of 107
                                                          t.:NITED STATES DISTRICT COURT
                                                    FOR THE EASTER"II DISTRICT OF PENNSYLVANIA




Address olPiamtiff.                              Katherine Wa~dlow ~3 Delray R~ad, Rochester, NY 14610
Addre 5 sofDefendant.                                        PHEAA-1200 N 7th St, Harrisburg, PA 17102
                                                                       -     --     --      -    --
Place of Accident, Incident ortransact10n:                           1200 N 7th St, Harrisburg, PA 17102


RELATED CA               , IFANY:
Case Number          2:18-md-0283~ (E.D. Pa.)                 Judge      Hon. C. Darnell Jones, II                          Date Termmated

Civil cases ar         eemed related when Yes 1s answered to any of the followmg questions

                        to property mcluded man earlier numbered suit pendmg or w1thm o
       prev10usly termmate      "'--=-m:...th::::1s:..:c:.:o:.::u::_rt:_?_ _ _ _ _ _ _ _ _ _ __
                                                                                                                              YesD                  Noll]
2      Does this case mvolve the same 1~sue of fact or grow out of the same transact10n as a pnor suit
       pendmg or w1thm one year prev10usly termmated act10n m this court?
                                                                                                                              YesD                  Noll]
3      Does this case mvolve the vahdtty or mfrmgement of a patent already m smt or any ear her
       numbered case pend mg or Mthm one year previously termmated action of this court?
                                                                                                                              YesD              No         [l]
4      Is this case a second or successive habeas corpus, s oalg · cunty appeal, or pro se c1vll nghts
       case filed by the same md1v1duaJ?
                                                                                                                              YesO                  !',o   [l]
I certify that, to my knowledge, the w1thm case        D   is I [!] s not related to any case now pendmg or wtthm one year prev10usly termmated action m
this court ex ce pt/as no ted above                             V ~/ /-, _ ~                       -
DATE           11 I 08 2 0 19                                   4~                                                                    PA ID# 85964
                                                                       Attorney-at.[. w I Pro Se Plaznt1                              Attorney ID     #    (if appltcable)



Cl\1L: (Place a , in one categor}' only)

A.              Federal Question Cases:                                                  B.   Diversity Jurisdiction Cases:

o,              lndemmty Contract, Manne Contract, and All Other Contracts              01             Insurance Contract and Other Contracts
0      2        FELA                                                                    0      2       Airplane Personal lnJury
03              Jones Act-Personal Injury                                               0      3       Assault, Defamat10n
0      4        Antitrust                                                               0     4        Manne Personal lnJury
                                                                                        0
B
0
  ~
                Patent
                Labor-Management Relat10ns
                C1v1l Rights
                                                                                        0
                                                                                        0
                                                                                               5
                                                                                               6
                                                                                               7
                                                                                                       Motor Vehicle Personal lnJury
                                                                                                       Other Personal Injury (Please specify)
                                                                                                       Products Ltab1hty
                Habeas Corpus                                                           0      8       Products L1ab1hty Asbestos
                Secunttes Act(s) Cases                                                  0      9       All other D1vers1ty Cases
           0    Social Secunty Review Cases                                                            (Please specif,/ _
           I    All other Federal Question Cases
                (Please speer/,)       Administative PrQcedures Act



                                                                          ARBifRATION CERTIHCATIO!';
                                                 (The effect of this certificatwn 1s to remove the case from ehg1b1hty for arb1trat1on)

               Laura K. Mummert, Esq.                   _, counsel of record or pro se plamhff. do hereby certify

                Pursuant to Local C1v1I Rule 53.2, § 3(c} (2), that to the best of my knowledge and behef, the damages recoverable m this civil action case
                exceed the sum of $150,000 00 exclusive of mterest and costs

                Relief other than monetary damages 1s sought
                                                                                                                                             NOV - B 2019·
DATE           11/08/2019                                                                                                             PA ID# 85964
                                                            ~ 5 - ~
                                                             Attorney-:i-f£ePro Se Plamttjj                                           Attorne} ID    #    (if applzcable)

NOTE A tnal de novo will be a tnal by Jury only 1f there has been compliance '-'Ith FR(' P 38

Ct> 609 1;,201 SJ
     Case 2:19-cv-05278-CDJ Document 1 Filed 11/08/19 Page 107 of 107



                      -fN-~•fllE U::'IIITED STATES DISTRICT COURT                  18           5278
                    FOR THE EASTERN DISTRICT OF PEN~SYLV ANIA

                    CASE :.\1A~AGE:.\1ENT TRACK DESIGNATION FOR.\1

Wardlow et al.                                                               CIVIL ACno;-,.;

                       V.
Pennsylvama Higher Education Assistance
                                                                             NO.
Agency et al.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plamtiff regardmg said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plamtiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MA1"AGEME~T TRACKS:

(a) Habeas Corpus - Cases brought under 28 U S.C. § 2241 through§ 2255.                              ( )

(b) Social Security -· Cases requestmg review of a decision of the Secretary of Health
    and Human Services denymg plaintiff Social Security Benefits.                                    ( )

(c) Arbitration - Cases required to be designated for arbitrat10n under Local Civil Rule 53.2.       ( )

(d) Asbestos-· Cases mvolving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or mtense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases )

(f) Standard Management       Cases that do not fall into any one of the other tracks.


11/8/2018                                                            Plaintiffs
Date                          ~Attorneyt-law
                                ~4hb                                     Attorney for
 215-399-4770                    ~IA                                   lmummert~lowey .com

Telephone                           FAX :'.'lumber                       E-Mail Address



(Civ. 660) 10/02




                                                                                         NOY -8 2018,
